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                       Nos. 22-5884 & 22-5912

           UNITED STATES COURT OF APPEALS
                FOR THE SIXTH CIRCUIT

     CHELSEY NELSON PHOTOGRAPHY, LLC; CHELSEY NELSON,
              Plaintiffs-Appellees/Cross-Appellants,

                                 v.

  LOUISVILLE-JEFFERSON COUNTY, KY METRO GOVERNMENT, ET AL.,

             Defendants-Appellants/Cross-Appellees.

          On Appeal from the United States District Court
     for the Western District of Kentucky, Louisville Division
                      Case No. 3:19-cv-00851

 CHELSEY NELSON PHOTOGRAPHY, LLC’S AND CHELSEY
  NELSON’S OPENING AND RESPONSE (SECOND) BRIEF

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            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Sixth Circuit Rule 26.1, Chelsey Nelson Photography,

LLC and Chelsey Nelson make the following disclosure:

     1.    They are not a subsidiary or affiliate of a publicly owned

corporation.
     2.    There is no publicly owned corporation, not a party to the

appeal, that has a financial interest in the outcome.




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       STATEMENT IN SUPPORT OF ORAL ARGUMENT

     Appellees/Cross-Appellants Chelsey Nelson Photography, LLC

and Chelsey Nelson (Nelson) respectfully request oral argument. Nelson

tells stories about marriage consistent with her faith through her

wedding photographs and blog posts on her studio’s website. But
Appellants/Cross-Appellees Louisville-Jefferson County, KY Metro

Government and Louisville and Jefferson County Human Relations

Commission-Enforcement (Louisville) use their public-accommodations

law to force Nelson to promote a different message about marriage and

to chill her desired message in her photographs and on her studio’s

website. That unconstitutionally regulates Nelson’s speech and violates

her conscience. The district court agreed, enjoined this application of

Louisville’s law, and declared the law to violate Nelson’s rights under

the First Amendment and Kentucky Religious Freedom Act (KRFRA).
     This case raises critical questions about free speech and religious

exercise in the public sphere and how to balance these rights against

anti-discrimination laws. Oral argument will help the court decide

these fundamentally important issues.




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                 STATEMENT OF JURISDICTION

     Nelson agrees with Louisville’s Statement of Jurisdiction. This

Court has jurisdiction over Nelson’s cross-appeal for those same reasons

since this appeal follows a final judgment. 28 U.S.C. § 1291. Nelson

timely cross-appealed on October 10, 2022.




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                      STATEMENT OF ISSUES

     Nelson creates wedding photographs and writes blogs consistent

with her faith and wants to publicly explain this choice. She challenged

Louisville’s law because it (1) required her to create expression contrary

to her conscience; (2) banned her faith-based editorial policy; and (3) for-
bid her from telling clients why she celebrates only opposite-sex mar-

riage. The district court found that Nelson has standing and Louisville’s

law violates her rights. The issues are:

     1.    Whether the district court correctly held that Nelson has

standing to challenge Louisville’s law, that Nelson’s claims are ripe, and

that Louisville’s law violates the First Amendment and KRFRA because

the law requires Nelson to create photographs and blog posts cele-

brating a view of marriage contrary to her conscience and by restricting

her speech about marriage.
     2.    Whether the summary-judgment record should include

relevant, admissible, and undisputed supplemental materials.

     3.    Whether the law’s Unwelcome Clause is facially overbroad,

vague, or allows unbridled discretion when it bans communications

indicating someone is “objectionable, unwelcome, unacceptable, or

undesirable” at public accommodations because of protected traits.

     4.    Whether Nelson may allege and recover nominal and

compensatory damages for her loss of constitutional freedoms and

business caused by Louisville’s law.



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                           INTRODUCTION

     Like many Americans, Chelsey Nelson wants the freedom to speak

ideas she believes in and to work consistent with her values. Because

she is a wedding photographer and a Christian, Nelson creates

photographs and blogs that honor her religious views—including that
marriage between a man and woman beautifully displays Jesus’ love for

His bride, the Church. Nelson gladly creates this expression for anyone;

she just cannot promote contrary views for anyone.

     But Louisville interprets its public-accommodations law to compel

Nelson to celebrate same-sex marriage in her photographs and blogs.

This law also prohibits Nelson from publicly explaining why she creates

consistent with her religious beliefs on marriage. That puts Louisville

at odds with Nelson—and the First Amendment and KRFRA.

     Nelson saw officials across the country use laws to punish artists
like her. When she learned of Louisville’s similar law, she realized her

need to act. So she asked the courts for help. For three years since,

Louisville has espoused its compelling need and unchecked authority to

regulate Nelson.

     This history, the undisputed facts, and Louisville’s admissions

make this case straightforward. Nelson’s photographs and blogs are

speech, and Louisville’s law seeks to alter their content—from

celebrating a view of marriage Nelson wholeheartedly supports to one

she religiously opposes. That’s compelled speech. And it is



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unconstitutional. Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of
Bos., 515 U.S. 557 (1995). Below, two different district court judges and

the United States government agreed. Orders, RR.47, 130; Statement of

Interest, R.38. So have many other courts in indistinguishable cases.
     Now, Louisville grasps for straws to avoid this conclusion. First

(and incredibly), Louisville denies any threat posed by its law even

while characterizing Nelson’s beliefs as “discriminatory” and consis-
tently conceding that its law applies to her, compels and restricts her

speech, and tolerates no exceptions. Then, Louisville insists that its law

only regulates Nelson’s conduct while simultaneously seeking to

commandeer her camera and website to proclaim a view of marriage she

opposes. Finally, Louisville claims this authority with no evidence

whatsoever to justify this violation of Nelson’s freedoms.
     Louisville’s arguments nullify the First Amendment, silence

disfavored speech, “excise[] certain ideas or viewpoints from the public

dialogue,” and threaten to expose all artists to censorship by converting

them into “minor official[s] working on themes handed down from

above.” Order, R.130, PageID#5374–5375 (cleaned up). Meanwhile,

protecting Nelson’s speech fulfills the First Amendment’s foundational

promise: promoting tolerance and respect for all views, even when we

disagree.

     This Court should affirm the district court’s decision with the

addition of the supplemental records, order a facial injunction of the


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Unwelcome Clause, and remand to the district court to enter Nelson’s
requested nominal damages and determine her compensatory damages.

                    STATEMENT OF THE CASE
I.   Nelson celebrates marriage consistent with her faith
     through photographs and blogs.
     Nelson’s passion for photography began as a little girl when she

coped with a devastating family loss by looking through family photo

albums. Nelson Decl. ¶¶13–19, R.92–2, PageID#2835. That passion

blossomed and eventually led Nelson to start her own photography

studio. Id. at ¶¶20–74, PageID#2835–2841. Nelson always desired to

“tell[] positive stories through photography, editing, and writing about

weddings between a man and a woman.” Id. at ¶76, PageID#2841. Her

religious beliefs informed that choice. She believes God designed

marriage as the union of one man and one woman. Id. at ¶¶75–124,

PageID#2841–2846. Nelson hopes to use her studio to publicly advocate

that view. Id.; id. at ¶¶305–06, PageID#2867–2868.

     To that end, Nelson offers two services: (1) boutique editing

services for weddings and commercial photographers, and (2) wedding-

celebration services (photography and blogging) for engagements and

weddings. Id. at ¶¶151–207, PageID#2848–2854. For both forms of

expression, Nelson retains ultimate artistic control and exercises her

artistic judgment in many ways, as shown by her engagement and

wedding photographs below. Nelson’s Photographs, R.92–6-7,



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PageID#3105–3180, 3184–3196; Nelson Booklet, R.92–6, PageID#3029–
3102; Nelson Dep., R.92–7, PageID#3306–3324; Contracts, R.92–6,

PageID#3015–3028.




     Nelson’s wedding-celebration service always includes a blog post

on her website and always covers the engagement and the wedding.

Nelson Decl. ¶¶268–92, R.92–2, PageID#2862–2866; Contract, R.92–6,

PageID#3015–3021. Nelson’s blog is integral to her business because it


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allows her to publicly advocate her view of marriage. Nelson Decl.
¶¶268–92, R.92–2, PageID#2862–2866. Nelson decides the content of

the blog too as shown by the excerpt below. Nelson Blogs, R.92–5-6,

PageID#2937–2993.

 It was an honor to spend the day documenting such a sacred occasion
  with Parker and Larissa as they made a covenant before God, their
 friends, and family. The ceremony honored God’s design for marriage
    and a desire for this marriage to point others to the love of Jesus.


     Just as her faith guides what she promotes, it also affects what

she cannot photograph or blog about. Nelson Decl. ¶¶328–94, R.92–2,

PageID#2872–2880. Nelson evaluates each request based on the
message the requested artwork promotes. E.g., id. at ¶409,

PageID#2882. Because of her religious beliefs, Nelson does not provide

photography services that demean others, praise vulgarity, or
contradict biblical principles. Id. at ¶333–34, PageID#2873. For

example, Nelson would not provide photography services for opposite-

sex weddings with a Game of Thrones theme. Id. at ¶¶328–76,

PageID#2872–2878. Likewise, because Nelson sees marriage as the

union of one man and one woman, she cannot create photographs or

blogs celebrating polygamous or same-sex marriage. Id. at ¶¶377–94,

PageID#2878–2880.

     Nelson’s decisions always turn on the what, not the who—what

messages she’s being asked to create, not who asks. Id. at ¶¶395–409,



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PageID#2880–2882. To illustrate, Nelson would edit opposite-sex
wedding photographs for an LGBT photographer, edit photographs for

an LGBT-owned business, and provide wedding-celebration services for

an opposite-sex wedding if hired by an LGBT wedding planner, parent,
or family member. Id. But Nelson would not photograph a staged same-

sex wedding even if the models were heterosexual. Id.

II.   Nelson learns about threats to other artists posed by
      Louisville’s and other laws.

      Before Nelson started her studio, she knew other public-

accommodations laws were threatening and punishing artists because

of their beliefs about marriage and other topics. Nelson Decl. ¶¶410–

412, R.92–2, PageID#2882. Nelson worried that she faced similar

threats and potential penalties, id. at ¶413, PageID#2882, and with
good reason. In an official newsletter, a Louisville commission member

slandered individuals who request religious exemptions as “the new

face of discrimination.” Compl. ¶308, R.1, PageID#39.

      Previously, Louisville investigated Teen Challenge of Kentucky,

Inc., a faith-based organization that helps men and women overcome

substance abuse issues. Case File, R.129–2, PageID#5346. The investi-

gation began when the Lexington Fair Housing Council—a nonprofit

advocacy organization—filed a public-accommodations complaint after

seeing the ministry’s religious views on homosexuality in news articles.

Id. at PageID#5306–5307, 5321, 5326–5331.


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     Likewise, Louisville’s enforcement commission launched a com-
plaint against Scooter’s Triple B’s—a Louisville restaurant—for a sign

after it caused angry social-media reactions. Boyd Dep., R.92–7,

PageID#3662, 3725; Case File, R.129–1, PageID#5268–5305. The sign
expressed the restaurant owners’ views “on a matter of public

concern”—restroom access by those who identify as transgender. Id. at

PageID#5292–5295. Louisville admitted the sign contained “political
speech” but claimed the authority to ban the sign as “fighting words.”

Id. at PageID#5276–5279. The restaurant removed the sign to end

prosecution. Id. at PageID#5300–5301.

     Elsewhere in Kentucky, city officials prosecuted a custom t-shirt

printer for declining to design a t-shirt promoting a message contrary to

the owner’s beliefs about marriage and sexuality. Lexington-Fayette
Urban Cnty. Hum. Rts. Comm’n v. Hands On Originals, 592 S.W.3d

291, 295 (Ky. 2019). The negative publicity from the complaint alone

cost the designer more than $200,000. Kayla Phelps, Former UK vendor

accused of discriminating against organizers of Lexington gay pride

festival, Kentucky Kernel (Mar. 28, 2012), https://bit.ly/3xh4U1G.

     Beyond Kentucky, state officials have prosecuted photographers

and other artists for declining to design custom works that contradict

their beliefs about marriage. Dep’t of Fair Emp. & Hous. v. Cathy’s

Creations, Inc., No. BCV-18-102633 (Cal. Sup. Ct. Oct. 21, 2022),

available at https://bit.ly/3UJl2Dq; Washington v. Arlene’s Flowers,


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Inc., 441 P.3d 1203, 1210–12 (Wash. 2019); Masterpiece Cakeshop, Ltd.
v. Colo. C.R. Comm’n (Masterpiece), 138 S. Ct. 1719, 1724–26 (2018);

Masterpiece Cakeshop Inc. v. Elenis, 445 F. Supp. 3d 1226, 1236–37 (D.

Colo. 2019); Scardina v. Masterpiece Cakeshop, Inc., 2023 COA 8; Klein
v. Or. Bureau of Lab. & Indus., 410 P.3d 1051, 1057 (Or. Ct. App. 2017);

Elane Photography, LLC v. Willock, 309 P.3d 53 (N.M. 2013).

     These prosecutions have had devastating consequences—including
heavy business losses, fines of over $100,000, and “death threats.”

Richard Wolf, Same-sex marriage foes stick together despite long odds,

USA Today (Nov. 15, 2017), https://bit.ly/3m2czwk.

III. Nelson learns about Louisville’s threatening law.

     Nelson feared these results. Nelson Decl. ¶¶412–510, R.92–2,

PageID#2882–2894. But she didn’t know the threat against her until

October 2018 when she learned about Louisville’s law. Id.
     This law has two clauses, the Accommodations Provision and the

Publication Provision. The former forbids public accommodations from

denying someone “the full and equal enjoyment” of goods, services, and

accommodations because of “sexual orientation.” Metro Ord. § 92.05(A).

The latter makes it illegal for public accommodations to “publish” or

“display” a “communication” which “indicates” that (A) “services” will be

“denied” because of someone’s “sexual orientation” (the Denial Clause)

or (B) someone’s “patronage of, or presence at” a business is “objection-



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able, unwelcome, unacceptable, or undesirable” because of “sexual
orientation” (the Unwelcome Clause). Metro Ord. § 92.05(B).

      Nelson’s studio is a public accommodation. Infra § I.A.2. As

applied to her, Louisville’s law (1) forces Nelson to create photographs
and blogs celebrating same-sex weddings because she does so for

opposite-sex weddings; (2) prohibits her policy of celebrating only

opposite-sex weddings; and (3) forbids her from communicating her
editorial statement explaining her choices and views to the public. Id.

      Nearly anyone can file complaints under Louisville’s law, includ-

ing individuals, private testers, nonprofit advocacy organizations,

Louisville’s own officials, and Louisville’s employed testers. Infra

§ I.A.4. To complain, an “aggrieved” person need not be denied a service.

Simply seeing an objectionable sign or online post can trigger a
complaint. Infra § I.A.4–.5.

      Louisville must investigate all complaints. Metro Ord. § 92.09(C)–

(D); Boyd Aff., R.97–9, PageID#4012. This burdensome investigation

requires respondents to file responses under oath, produce documents,

and give testimony. Metro Ord. §§ 92.08(B)(4)–(5)–.09(D). Respondents

unwilling to participate are subject to default judgments. Id. at § 92.11.

      Louisville then determines whether there is “reasonable cause” to

believe a violation occurred. Id. at § 92.09(E). If so, Louisville either

settles the complaint or proceeds to a hearing. Id. at 92.09–.10. After

that hearing, Louisville can issue “cease and desist” orders, impose


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uncapped fines, force public accommodations to provide the requested
service, mandate compliance reports, and require “anti-discrimination

training.” Id. at § 92.08(B)(8) (incorporating K.R.S. § 344.230); Goatley

Aff., R.64–3, PageID#1653–1654. These remedies plus damages and
attorney fees are available to complainants who file directly in state

court. Metro Ord. § 92.09(A) (incorporating K.R.S. § 344.450).

IV.   Nelson self-censors to avoid violating Louisville’s law.

      Before learning about Louisville’s law, Nelson was actively

growing her business. She signed up for photography-business classes,

followed wedding photographers on social media, listened to podcasts,

read other resources, and joined a photography referral group. Nelson

Decl. ¶¶416–426, R.92–2, PageID#2883–2884. But that changed when

she realized how Louisville’s law affected and threatened her studio.

      Nelson then understood that her decision to only photograph and
blog about opposite-sex weddings—and her policy binding her studio to

that choice—violated Louisville’s law. Id. at ¶456, PageID#2888. So she

sought to avoid prosecution. She left the photography referral group,

posted less on social media, and reduced her contact with her profess-

sional network to limit her exposure to objectionable requests. Id. at

¶¶430–49, PageID#2884–2887.

      Nelson also wanted to be honest and transparent with prospective

couples by publishing on her website or telling them about her reasons



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for promoting marriages only between one man and one woman. Id. But
she refrained from posting a “comprehensive expression of [her]

religious beliefs about God designing marriage to be the union of one

man and one woman” for fear of being investigated and prosecuted. Id.
at ¶¶445–54, PageID#2886–2887. She hoped to post and communicate

these beliefs to prospective couples to persuade others to her viewpoint.

Id. at ¶444, PageID#2886.
     But Nelson couldn’t continue to chill and hinder her religiously

motivated expression—i.e., to create photographs, write blogs, and

operate her studio to publicly proclaim her beliefs about God’s design

for marriage. Id. at ¶¶75–99, 208–14, 305–06, PageID#2841–2844,

2854–2855, 2867–2868. Nor could she continue to live under the

constant threat posed by Louisville’s laws. Id. at ¶¶492–508,
PageID#2892–2893. This rock-and-a-hard place choice forced Nelson to

file this lawsuit to protect her freedom of expression.

V.   Nelson files her lawsuit, and two district court judges
     enjoin Louisville’s law for violating the First Amendment.

     Nelson’s complaint sought declaratory and injunctive relief to

prevent Louisville from violating her constitutional and KRFRA rights

and compensatory and nominal damages to redress her past injuries.

Compl. Prayer for Relief ¶¶1–10, R.1, PageID#50–51.

     Nelson also moved for a preliminary injunction. Order, R.47,

PageID#1202. The district court granted it after concluding that Nelson


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had standing, her claims were ripe, and Louisville’s law likely violated
her free-speech rights. Id. at PageID#1207–1225. But the court dismis-

sed Nelson’s damage claims without prejudice based on Louisville’s

motion to dismiss. Id. at PageID#1211.
     The parties proceeded to discovery where Nelson successfully

moved to compel Louisville to produce various documents. Order, R.89,

PageID#2186–2219.
     The parties then cross-moved for summary judgment. Order,

R.130, PageID#5358. Nelson requested a permanent injunction and

declaratory judgment. Id. Louisville offered Professor Netta Barak-

Corren as an expert. Id. at PageID#5383–5387. Nelson offered George

Yancey, Ph.D. in rebuttal. Yancey Report, R.90–6, PageID#2412–2440.

Long afterwards, Louisville finished producing the ordered discovery
documents. Order, R.127, PageID#5183.

     At summary judgment, the district court found standing and

ripeness and granted Nelson’s summary-judgment motion. Order,

R.130, PageID#5353–5396. The court enjoined Louisville from violating

Nelson’s free-speech rights by compelling her to photograph and blog

about same-sex weddings or by restricting her speech on that topic, and

declared the law violated KRFRA by substantially burdening Nelson’s

religious freedom. Order, R.130, PageID#5396. The court further held

that Louisville’s law failed strict scrutiny as applied to Nelson and

excluded Barak-Corren’s testimony as unreliable and irrelevant. Id. at


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PageID#5377–5387. The court declined to facially enjoin the Unwel-
come Clause and denied as moot Nelson’s motion to supplement the

summary-judgment record. Id.; Text Order, R.131.

     Louisville appealed. Nelson cross-appealed.

                         STANDARD OF REVIEW

     Nelson agrees that a de novo standard of review applies to

standing, ripeness, and summary judgment. This standard also applies

to the cross-appealed issues about the Unwelcome Clause’s facial

validity, the refusal to consider supplemental evidence, and the

dismissal of Nelson’s damages claims at the motion-to-dismiss stage.

Ellis ex rel. Pendergrass v. Cleveland Mun. Sch. Dist., 455 F.3d 690, 698

(6th Cir. 2006) (evidence); McGlone v. Bell, 681 F.3d 718, 731 (6th Cir.

2012) (damages).

     The abuse-of-discretion standard applies to expert exclusions, but
it is higher than Louisville suggests. This Court must have a “definite

and firm conviction that the district court committed a clear error of

judgment.” In re Scrap Metal Antitrust Litig., 527 F.3d 517, 528 (6th

Cir. 2008) (cleaned up).

                   SUMMARY OF THE ARGUMENT

     Nelson desires to promote a view of marriage consistent with her

religious beliefs through her photography and blogs. She also wants to

explain that choice to the public to persuade them of her views. But



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Louisville argues this is illegal, seeks to alter the content of Nelson’s
expression, and threatens to prosecute if Nelson continues operating

her studio according to her beliefs.

     That clear conflict and credible threat give Nelson standing and
present a ripe case. Infra § I. Louisville’s interpretation of its law

violates Nelson’s First Amendment and KRFRA rights by forcing her to

celebrate same-sex weddings through her photography and blogs, by
restricting her religious views, and by threatening her with penalties

for adhering to her beliefs about marriage. Infra §§ II–IV.

     For these reasons, Louisville’s law must pass strict scrutiny. But

Louisville did not meet this demanding standard. Infra § V. Professor

Barak-Corren’s testimony doesn’t show otherwise because her testi-

mony is unreliable and legally irrelevant. Infra § VI. The district court
correctly reached these same conclusions and rightly enjoined Louisville

and declared its law violates Nelson’s KRFRA rights. Order, R.130,

PageID#5359–5396.

     Additionally, this Court should consider Nelson’s supplemental

documents because Louisville produced them and they offer even more

evidence supporting Nelson’s case. Infra § VII. The Unwelcome Clause

should be facially enjoined as overbroad, vague, and granting unbridled

enforcement discretion. Infra § VIII. And Nelson’s damages claims

should be reinstated because Nelson chilled her speech and lost

business as a result of Louisville’s law. Infra § IX.


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     Nelson asks this Court to affirm the district court’s injunction and
declaration, notice the supplemental materials, permanently enjoin the

Unwelcome Clause facially, and order the district court to enter

Nelson’s nominal damages and calculate her compensatory damages.

                              ARGUMENT
I.   Nelson has standing and provided a comprehensive record
     to challenge Louisville’s law.
     Nelson has standing and her claims are ripe. Order, R.130,

PageID#5359–5365. Standing requires a showing of injury-in-fact,

causation, and redressability. Susan B. Anthony List v. Driehaus (SBA

List), 573 U.S. 149, 157 (2014). Nelson must also show ripeness. Id. at

157 n.5. Louisville only contests injury-in-fact and ripeness. But Nelson

can show these because (A) Louisville’s law credibly threatens her, and

(B) the record supplies more than enough facts for ripe review.

     A.    Nelson has standing because Louisville’s law credibly
           threatens and chills her religiously motivated speech.

     For injury-in-fact, Nelson need only prove a “substantial risk” of

Louisville’s law harming her. SBA List, 573 U.S. at 158. Nelson does so

because she meets the Supreme Court’s three-part test for pre-

enforcement standing: (1) she intends “to engage in a course of conduct

arguably affected with a constitutional interest”; (2) her activities are

arguably “proscribed by” Louisville’s law; and (3) she faces a “credible




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threat of prosecution.” Id. at 159. What’s more, (4) other factors bolster
Nelson’s standing, and (5) Louisville’s counter-arguments fail.

           1.    Nelson intends to and engages in activities
                 protected by the First Amendment.

     Nelson engages in activities affected with a constitutional interest.

She offers and creates photographs and blogs celebrating a view of

marriage consistent with her faith, and she adopted and follows a policy
to that effect. Infra § II–IV; Operating Agreement, R.92–5,

PageID#2907–2908; Nelson Decl. ¶¶51–54, 76, 151–73, R.92–2,

PageID#2838–2839, 2841, 2848–2850. Nelson also wanted to post

statements explaining her reasons for her artistic choices, but had

refrained to avoid prosecution. Id. at ¶¶439–54, PageID#2885–2887.

Since the preliminary injunction, Nelson has posted those explanations
on her website. Id. at ¶475, PageID#2890; Website Statements, R.92–5,

PageID#2931, 2933.

     Despite this undisputed evidence, Louisville says this case is

“manufactured.” Metro.Br.14. But Louisville offers no evidentiary

support. Nelson’s verified complaint, multiple declarations, and

testimony unwaveringly support her intent and actual practice. At

most, Louisville complains that Nelson received “legal advice” before

posting her statements. Metro.Br.8. But that was because she faced a

credible threat of being prosecuted for those statements. See § I. And no




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one disputes that Nelson drafted the statements to express her beliefs.
Nelson Dep., R.97–7, PageID#3990.

     Regardless, the Supreme Court has routinely rejected Louisville’s

exact argument, both recently and in 1960s civil-rights cases. FEC v.
Cruz, 142 S. Ct. 1638, 1647 (2022) (rejecting argument that plaintiffs

lack standing “for injuries” they “purposely incur[]”); Order, R.130,

PageID#5363 n.5 (citing civil-rights case that helped end segregation).
Louisville ignores these cases.

     Louisville next bemoans that Nelson “was scaling back her

photography business” before the lawsuit. Metro.Br.9. But as Louisville

acknowledges, “scaling back” means Nelson focused “exclusively on

wedding photography.” Id. That’s unsurprising. Nelson wanted to do

that “[f]rom the outset” of her business. Nelson Decl. ¶76, R.92–2,
PageID#2841. And she became a new mom during this time too. Id. at

¶¶121–24, PageID#2846. Louisville thinks Nelson forfeited her right to

seek judicial relief by becoming a mother. Order, R.130, PageID#5363

(Louisville “seemingly question[s] Nelson’s decision to work part-time

after having a child.”). Not so. Since the injunction, Nelson has

continued to photograph, edit, and blog about weddings consistent with

her faith, maintained a policy to that effect, posted her statements,

grown her business, created an online tutorial, and continued to receive

requests and book new clients. Nelson Decl. ¶¶478–509, R.92–2,




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PageID#2890–2894; Website Statements, R.92–5, PageID#2931, 2933;
Nelson Supp. Decl. ¶¶3–4, R.104–1, PageID#4584.

     Finally, Louisville criticizes Nelson’s counsel for “a national

strategy” of preserving “religious exemptions.” Metro.Br.20. To repeat:
Louisville impugns Nelson for her counsel supporting people’s constitu-

tional rights. But such public advocacy is constitutionally protected.

NAACP v. Button, 371 U.S. 415, 429–45 (1963). Meanwhile, Louisville
ignores both how governments have fined and ruined businesses that

share Nelson’s beliefs and its own position of denying any “religious

exemptions.” Metro.Br.3–4, 44. Louisville’s criticisms are a non-starter

and cannot refute Nelson’s undisputed intent.

           2.    Louisville’s law arguably prohibits Nelson’s
                 desired activities.

     Louisville admits that its law regulates Nelson’s studio as a public

accommodation and that her activities violate the law. Defs.’ Admis-

sions, R.104–4, PageID#4596.

     Louisville’s law requires Nelson to offer and create photographs

and blogs “on the exact same terms and conditions” for same-sex and

opposite-sex weddings. Defs.’ Interrogatory Responses, R.92–7,

PageID#3288; Metro.Br.28, 34. According to Louisville, Nelson violates

the law because she only creates photographs and writes blogs

celebrating opposite-sex weddings and doesn’t offer those “exact same

services” to celebrate same-sex weddings. Defs.’ Admissions, R.92–7,


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PageID#3257–3259; 30(b)(6) Dep., R.92–7, PageID#3665–3667; Defs.’
MPI Resp., R.15–1, PageID#783 (services must be “equally available”);

Defs.’ MSJ, R.97, PageID#3830 (same). Nelson would likewise violate

the law by offering “lesser quality” of photographs and blogs for same-
sex weddings. 30(b)(6) Dep., R.92–7, PageID#3667.

     Louisville also prohibits Nelson from following her current policy

and practice of only photographing, editing, and blogging about
opposite-sex weddings. See, e.g., Defs.’ Admissions, R.92–7,

PageID#3261–3264. Louisville’s official representative testified “[i]f

that’s her policy … then yes, that is discrimination.” 30(b)(6) Dep.,

R.92–7, PageID#3668.

     Louisville’s law even bans Nelson’s written and verbal statements

to prospective customers explaining why she can only promote certain
messages about marriage. Defs.’ Admissions, R.92–7, PageID#3265–

3267, 3333–3334; Answer ¶17, R.104–4, PageID#4592. The Unwelcome

Clause also arguably bans Nelson from explaining her religious beliefs

on marriage because some might view those beliefs as “unwelcom[ing].”

Metro Ord. § 92.05(B).

     Louisville’s briefing confirms all this:

     • Nelson’s “business model is discriminatory,” her policy is

        “plainly discriminatory,” and her statements “discriminate[]

        against same-sex couples.” Defs.’ MPI Resp., R.15–1,

        PageID#769, 772, 774;


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     • Nelson’s “conduct and certain language in [her] marketing
        statement violate[] the Fairness Ordinance.” Defs.’ Mot. for

        Protective Order, R.64, PageID#1609;

     • Nelson’s activities are “undisputed violations of Louisville
        Metro’s antidiscrimination law.” Defs.’ MSJ, R.97,

        PageID#3821;

     • Nelson seeks “the freedom to discriminate.” Defs.’ MSJ Reply,
        R.111, PageID#4797; and

     • Nelson’s “objection to photographing same-sex weddings is …

        because she wants to discriminate against customers based on

        their sexual orientation.” Defs.’ Resp. to Mot. to Suppl., R.120,

        PageID#5127.

     That’s just a sample. See also Metro.Br.28, 30–32, 38, 40–41, 52.
Nelson’s desired activities at least arguably violate Louisville’s law.

           3.    Nelson deserves a presumption that she faces a
                 credible threat of enforcement.

     Nelson faces a presumptive credible threat of enforcement because

her studio is an object of Louisville’s law, the law arguably proscribes

her desired activities, and Louisville never disavows despite actively

enforcing the law. See Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S.

383, 393 (1988) (standing when court found “no reason to assume” a

“newly enacted law will not be enforced”); Planned Parenthood Ass’n of

Cincinnati, Inc. v. City of Cincinnati, 822 F.2d 1390, 1396 (6th Cir.


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1987) (standing where “statutory language of the Ordinance” applied to
plaintiff).1 When plaintiffs are “an object of the action” at issue “there is

ordinarily little question that the action or inaction has caused [their]

injury.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561–62 (1992). The
Supreme Court and this Court recently applied this presumption in two

pre-enforcement cases.

     In Whole Woman’s Health v. Jackson, abortion providers chal-
lenged a law fearing that licensing officials might enforce it against

them—even though the law had not gone into effect, licensing officials

had never enforced it against anyone, and state officials explicitly

disavowed the feared application. 142 S. Ct. 522, 530, 537 (2021); Whole

Woman’s Health v. Jackson, 141 S. Ct. 2494, 2495 (2021) (noting Texas

disclaimed “executive employees … authority to enforce the Texas law



1 E.g., Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 302
(1979); Doe v. Bolton, 410 U.S. 179, 188 (1973) (standing when law
“directly operate[d]” against abortion providers who had never been
threatened with prosecution); Doster v. Kendall, 54 F.4th 398, 416–26
(6th Cir. 2022) (standing to challenge vaccine requirements before
servicemembers received formal denials); Universal Life Church
Monastery Storehouse v. Nabors, 35 F.4th 1021, 1035 (6th Cir. 2022)
(standing where law prohibited ministers from solemnizing weddings
and state never disavowed); Green Party of Tenn. v. Hargett, 791 F.3d
684, 695 (6th Cir. 2015) (standing where loyalty oath affidavits applied
to minority political parties and government never disavowed); Platt v.
Bd. of Comm’rs on Grievances & Discipline of Ohio Sup. Ct., 769 F.3d
447, 451 (6th Cir. 2014) (Courts “do not closely scrutinize the plaintiff’s
complaint for standing” in First Amendment cases.).

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either directly or indirectly”). The Supreme Court still found standing
because officials could enforce that law against plaintiffs and because

plaintiffs alleged “a direct effect on their day-to-day operations.” Whole

Woman’s Health, 142 S. Ct. at 537.
     Likewise, in Kentucky v. Yellen, states had standing to challenge a

stimulus offset provision. 54 F.4th 325, 336–37 (6th Cir. 2022). The

states intended to accept stimulus funds which triggered the provision,
the provision arguably prohibited the states from cutting taxes post-

acceptance, and the Treasury Department “intended to enforce” the

provision. Id. The case became moot only after the department adopted

a Final Rule disavowing the states’ interpretation. Id. at 339.

     The enforcement presumption applies here. Nelson is the object of

the law, the law arguably prohibits her desired activities, and Louisville
never disavows and actively enforces the law. Contrary to Louisville’s

suggestion, this presumption does not “collapse” arguable violation and

credible threat. Metro.Br.20. Governments can still disprove a credible

threat—even with an arguable violation—by authoritatively disavowing

enforcement or establishing that the law is unused.

     That’s what happened in Plunderbund Media, L.L.C. v. DeWine,

753 F. App’x 362 (6th Cir. 2018). There, the court assumed an arguable

violation but found no standing because the prosecutor disavowed

enforcing the law against plaintiffs’ political expression. Id. at 366, 372.




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By contrast, Louisville triggers the presumption by admitting that the
law prohibits Nelson’s speech, never disavowing.

     Even so, Louisville claims the law is not “targeted” at Nelson.

Metro.Br.15, 18. But Louisville has repeatedly admitted that its law
applies to Nelson’s studio and regulates her photographs and blogs.

Supra § I.A.2; Order, R.130, PageID#5360.

     Most other courts agree that speakers like Nelson have standing
to challenge laws like Louisville’s. N.Y. State Club Ass’n, Inc. v. City of

N.Y., 487 U.S. 1, 9–11 (1988) (standing “before any enforcement

proceedings were initiated”); 303 Creative LLC v. Elenis, 6 F.4th 1160,

1171–75 (10th Cir. 2021); Telescope Media Grp. v. Lucero (TMG), 936

F.3d 740, 749–50 (8th Cir. 2019); Brush & Nib Studio, LC v. City of

Phoenix (B&N), 448 P.3d 890, 900–02 (Ariz. 2019); Emilee Carpenter,
LLC v. James, 575 F. Supp. 3d 353, 365–70 (W.D.N.Y. 2021).

     Louisville counters with a sole outlier: Updegrove v. Herring, an

unpublished, out-of-circuit, district court case currently on appeal. No.

20-cv-1141, 2021 WL 1206805 (E.D. Va. Mar. 30, 2021). But that case

turned on incorrect facts. Though the court thought the law had “never

been enforced,” id. at *3, Virginia later admitted that “certain

statements” of non-enforcement “were not accurate” when made, Decl.

of R. Thomas Payne, II ¶3, Updegrove v. Herring, No. 20-cv-01141-

CMH-JFA (E.D. Va. May 27, 2021), ECF No. 66. And Louisville

concedes here that it actively enforces its law.


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      Nelson need only prove a credible threat of enforcement. And
Louisville’s briefing, discovery responses, and witness testimony make

that threat near certain. Nelson has standing.

            4.    Other factors support the enforcement
                  presumption, bolstering Nelson’s standing.

      This Court need not evaluate the multi-factor test it sometimes

uses to determine standing because the enforcement presumption
applies. But Nelson meets those four factors anyway. Order, R.130,

PageID#5359–5364. See McKay v. Federspiel, 823 F.3d 862, 869 (6th

Cir. 2016) (listing four factors).

      First, Louisville actively enforces the law. Answer ¶10, R.104–4,

PageID#4591 (admitting complaint paragraph 303 that Louisville

“actively investigates complaints”). Louisville stipulated that it
investigated at least 100 discrimination complaints against public

accommodations from 2010-2020. Stip. Fact, R.104–5, PageID#4649.

Public records suggest that number is higher. Pls.’ Combined MSJ

Resp., R.104, PageID#4558 n.9. And Louisville investigated 173 sexual-

orientation complaints from 2002–2020. Boyd Supp. Aff., R.39–1,

PageID#1155. That’s more than enough. Cf. Online Merchs. Guild v.

Cameron, 995 F.3d 540, 550–51 (6th Cir. 2021) (standing with two prior

prosecutions).

      Second, Louisville never disavows. Supra § I.A.2; Tr., R.52,

PageID#1345 (Court: “you’re not disavowing”; Louisville: “That’s


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right.”). Louisville actively defends its authority to prosecute Nelson as
a “compelling” interest. Metro.Br.34–40. And just after the district

court’s ruling, Louisville’s then-Mayor publicly vowed to “continue to

enforce to the fullest extent possible [the] ordinance prohibiting anti-
discriminatory practices.” Mayor Greg Fischer (@GregFischerLou),

Twitter (Aug. 30, 2022, 6:55 PM), https://bit.ly/4011tJz.

     Louisville’s very legal theory makes disavowal impossible.
Louisville does not tolerate even a single exemption. Metro.Br.36

(“every single instance of discrimination” undermines city’s interests);

Boyd Dep., R.92–7, PageID#3727 (“a single instance of discrimination”

must “be corrected”). With this no-exceptions rule, a disavowal isn’t

forthcoming. Order, R.130, PageID#5361 (making this point).

     Third, Louisville’s law makes enforcement easy. Any “person”
claiming to be aggrieved may file a complaint. Metro Ord. § 92.09(A).

The law defines “person” broadly. Id. at § 92.02. Private testers and

nonprofit organizations’ testers can (and have) filed complaints. Case

File, R.92–7, PageID#3772–3776 (Lexington Fair Housing Council’s

testers supported complaint); 30(b)(6) Dep., R.92–7, PageID#3648 (no

policy stops private citizens from “engaging in testing activity”).

     Louisville counters that only “aggrieved” persons may complain.

Metro.Br.15–16. That’s hardly a limitation. SBA List, 573 U.S. at 164

(pre-enforcement standing though complainants needed “knowledge of

the purported violation”). Any of the above “persons” could claim to be


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aggrieved merely by seeing Nelson’s statement and objecting to it
without a specific service denial. Infra § I.A.5.2

     Louisville even makes it easy to file complaints in person, by

phone, or online. Goatley Dep., R.92–7, PageID#3735. Louisville posts
its complaint form online “[t]o make it convenient for a person wanting

to file a complaint to do so at their leisure.” Id. Louisville modified the

form so that persons can access it “on a computer or an iPad or a cell
phone.” Id. at PageID#3740; Online Form, R.92–7, PageID#3759; Platt,

769 F.3d at 452 (online complaint form bolstered standing).

     Louisville’s enforcement commission can also initiate its own

complaints. Metro Ord. §§ 92.08(B)(4), 92.09(A). Recently, the

commission filed a complaint against Scooter’s Triple B’s after “scrolling

through social media” and seeing “controversial things.” Boyd Dep.,
R.92–7, PageID#3662. And Louisville can file complaints through its

testers, including against public accommodations. Id. at PageID#3645–

3648; id. at PageID#3647 (testers test public accommodations).

Louisville says these testers do not “materially impact” Nelson’s

standing. Metro.Br.16. Not so. These testers are another galaxy in the




2 Advocacy organizations—like Lexington Fair Housing Council—can
file complaints on their own behalf after seeing news reports. Case File,
R.129–2, PageID#5306–5309, 5321, 5326–5331. Louisville also accepts
complaints from councilman on behalf of their constituents. Id. at
PageID#5046–5050.

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“universe of potential complainants.” SBA List, 573 U.S. at 164
(emphasis added); TMG, 936 F.3d at 750 (testers supported standing).

     Fourth, Louisville consistently condemns Nelson’s “specific

conduct” as illegal. McKay, 823 F.3d at 869; supra § I.A.2. With that, no
formal “warning letters” are necessary. Contra Metro.Br.15. See Peoples

Rts. Org., Inc. v. City of Columbus, 152 F.3d 522, 529 (6th Cir. 1998)

(standing where city’s answer stated its “inten[t] to prosecute anyone
who violates the … ordinance”); Mich. State Chamber of Com. v. Austin,

788 F.2d 1178, 1184 (6th Cir. 1986) (similar).

     Nelson checks all the pre-enforcement factors. But she only

needed “some combination” of them. McKay, 823 F.3d at 869. That

justifies standing many times over.

           5.    Louisville’s counterarguments impose
                 unnecessary barriers and make standing
                 impossible.

     While ignoring the above admissions, undisputed facts, and

precedent, Louisville says that Nelson must first be “asked to provide

services for a same-sex wedding.” Metro.Br.16. But that forces Nelson to

violate the law before challenging it. Courts do not ask plaintiffs to take

that gamble. E.g., 303 Creative LLC, 6 F.4th at 1171–75 (standing

without considering prior request); TMG, 936 F.3d at 749–50 (same).

Regardless, a request is irrelevant for four reasons.




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     First, Nelson’s policy and statement violate the law. Supra § I.A.2.
Louisville allows anyone who sees an objectionable sign or policy—or

hears about it in the news—to complain even if they are not denied a

service. Boyd Dep., R.92–7, PageID#3716, 3718.3
     Second, Louisville only restricts Nelson’s desired statements

under the Publication Provision because Louisville claims they propose

an activity the Accommodations Provision prohibits. Metro.Br.40–41.
Put differently, the Publication Provision depends on the Accommoda-

tion Provision’s definition of illegal activities. That intertwinement

gives Nelson standing to challenge both provisions. For example, in

FEC v. Cruz, a senator could challenge the law and its implementing

regulations because the regulations could not “operate independently

of” the law and were “expressly promulgated to implement” the law. 142
S. Ct. at 1649. So too here.

     Third, Louisville’s enforcement commission prosecutes without

service denials. Louisville launched a complaint against Scooter’s Triple

B’s because of social media’s reaction to the sign without knowledge of




3The Lexington Fair Housing Council filed a public-accommodations
complaint against Teen Challenge of Kentucky after someone from the
organization saw news reports describing the ministry’s views on
homosexuality. Case File, R.129–2, PageID#5321, 5326–5345. The
organization filed the complaint without alleging a “specific instance” of
someone being denied a service. Id. at PageID#5306–5307, 5332.

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an actual denial. 30(b)(6) and Boyd Deps., R.92–7, PageID#3663, 3724–
3729.4

        Finally, Louisville’s enforcement commission members can initiate

complaints and Louisville employs testers. See 30(b)(6) Dep., R. 92–7,
PageID#3645. Louisville doesn’t disavow doing so against Nelson.

Supra § I.A.4.

        Under any scenario, Louisville must investigate the complaint,
harming Nelson. Metro Ord. § 92.09(C)–(D). That makes enforcement

credible.

        Those enforcement mechanisms and Nelson’s actions distinguish

this case from Hyman v. City of Louisville, 53 F. App’x 740 (6th Cir.

2002). There, the physician did not have “an immediate or projected

need to hire a new employee.” Id. at 744. Here, Nelson already adopted
her policy and posted her statement. That exposes her to prosecution

absent an injunction. Hyman’s “known in the community” phrase

doesn’t apply either. Id. Louisville prosecuted Scooter’s Triple B’s

because its sign generated social-media attention, and anyone can file

complaints against Nelson if they see her website statements.

        Louisville’s other arguments fail too. Louisville says “[n]o discrim-

ination complaints have been filed” against her. Metro.Br.14. No mat-

ter. Nelson need not “first expose” herself to “prosecution” to challenge



4   See Case File, R.129–1, PageID#5268–5305 (adding details).

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Louisville’s law. Steffel v. Thompson, 415 U.S. 452, 459 (1974). Accord
MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 129 (2007).

      Next, Louisville claims never to have “heard of Nelson” before this

lawsuit. Metro.Br.14. But Louisville regularly investigates and
prosecutes businesses it has never heard of before. Boyd Dep., R.92–7,

PageID#3729–3730 (admitting no prior knowledge of Scooter’s Triple

B’s); Goatley Dep., R.92–7, PageID#3741 (testers “randomly call[] places
… they’ve never heard of before”). And citizens need not tip off hostile

officials before they litigate to protect their constitutional rights.

      Finally, Louisville insists that its law has “modest civil fines” and

lacks criminal penalties. Metro.Br.18. But these fines are far from

modest; Louisville settled one sexual-orientation complaint for $23,000,

Report, R.92–7, PageID#3368, a steep price for free speech. And, as
Louisville admits, “criminal penalties are not essential to confer pre-

enforcement standing.” Metro.Br.18; Kiser v. Reitz, 765 F.3d 601, 609

(6th Cir. 2014) (recognizing same). Louisville’s argument also ignores

its law’s other severe penalties. Order, R.130, PageID#5360–5361, 5393.

The law’s investigatory process alone harms Nelson and supports her

standing. Id.; SBA List, 573 U.S. at 164 (standing for similar admini-

strative system). 5


5 Teen Challenge submitted to Louisville’s investigation, hired an
attorney, responded, and decided against renovating a building (out of
“concern[] about a fairness complaint”) all in reaction to a complaint—

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     The district court correctly held it had jurisdiction to hear
Nelson’s claims.

     B.    Nelson brings ripe challenges to Louisville’s law
           because it undisputedly forbids her desired activities.

     Nelson’s claims are also ripe for largely the same reasons she

faces a credible enforcement threat. Order, R.130, PageID#5364–5365;

Winter v. Wolnitzek, 834 F.3d 681, 687 (6th Cir. 2016) (combining
standing and ripeness analysis).

     Louisville never disputes the ripeness of Nelson’s facial or as-

applied challenges to the Publication Provision or her Accommodations

Provision challenge for banning her editorial policy. Metro.Br.22. That

makes sense. Louisville agrees that Nelson’s statements and policy

violate the law, and facial challenges present purely legal questions. See
§ I.A.2; § VIII. Those claims are ripe.

     Louisville focuses instead on Nelson’s Accommodations Provision

challenge for boutique editing and wedding-celebration services,

complaining of missing facts about the requested service (photography,

editing, and blogging), the reasons for Nelson’s decline, and the nature

of the ceremony. Metro.Br.22.

     But Louisville’s admissions and the detailed record provide more

than enough facts. For three years, Louisville has argued its law


even though Teen Challenge was later vindicated. Case File, R.129–2,
PageID#5308–5316, 5339–5340, 5346–5352.

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requires Nelson to photograph, edit, and blog about same-sex weddings
because she does so for opposite-sex weddings. Supra § I.A.2. Nelson

cannot create the former because every wedding photograph and blog

she creates celebrates and positively depicts that wedding. Nelson Decl.
¶151, R.92–2, PageID#2848. So Nelson cannot create any photograph or

blog celebrating same-sex wedding ceremonies because that conveys a

message she objects to—regardless of whether it has religious themes or
not, contra Metro.Br.22. Louisville and its amici say that violates the

Accommodations Provision. See § I.A.2; ACLU.Br.6–9; AU.Br.17–23;

KYHR.Br.19–24.

         That presents a sharp, concrete, and resolvable conflict. See FEC

v. Wis. Right To Life, Inc., 551 U.S. 449, 459–60 (2007) (ripe claim

where sample campaign advertisement violated the law). This Court
should address the merits.

II.      The Accommodations Provision violates the First Amend-
         ment by compelling Nelson to speak against her
         convictions.

         The district court correctly held that Louisville’s law compels

Nelson to speak messages against her conscience. Order, R.130,

PageID#5366–5377. Louisville (A) compels Nelson to speak; (B) based

on content and viewpoint; (C) with no valid counterarguments; and

(D) offers a no-limits legal theory while Nelson provides time-tested

lines.



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     A.    The Accommodations Provision alters Nelson’s speech
           when she makes editorial decisions.

     The First Amendment protects speakers’ “autonomy to choose the

content of [their] own message.” Hurley, 515 U.S. at 573. Louisville’s
law violates this principle in the most “demeaning” way—by forcing

Nelson to “endorse ideas [she] find[s] objectionable.” Janus v. Am. Fed’n

of State, Cnty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 2464 (2018).
The law compels Nelson’s speech because (1) her photographs and blogs

are expressive, and (2) the law forces Nelson to create photographs and

blogs that affect her expression. Hurley, 515 U.S. at 572–73 (applying

this test); Sistrunk v. City of Strongsville, 99 F.3d 194, 199 (6th Cir.

1996) (same as to rally).

           1.    Nelson’s photographs and blogs are pure speech.

     Nelson’s photographs, boutique editing, and blogs are pure speech.
E.g., ETW Corp. v. Jireh Publ’g, Inc., 332 F.3d 915, 924 (6th Cir. 2003)

(protected expression includes “words” and “photographs”). They

“communicate ideas” about marriage. Brown v. Ent. Merchants Ass’n,

564 U.S. 786, 790 (2011). Through her expression, Nelson tells uplifting

stories celebrating and promoting her view of God’s design for marriage.

Nelson Decl. ¶¶208–327, R.92–2, PageID#2854–2872. Each photograph,

edit, and word contributes to this message. Id. (explaining artistic

process); Nelson Dep., R.92–7, PageID#3306–3324. For that reason, the

First Amendment protects Nelson’s creative process just the same as



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the final work. Brown, 564 U.S. at 792 n.1 (protections apply equally to
“creating, distributing, or consuming speech”).

     The following photographs and blogs illustrate Nelson’s

expression. See Nelson’s Photographs and Blog, R.92–5-6,
PageID#2937–3005, 3029–3180.

                              Photographs




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                                  Blogs

 There were so many beautiful, thought-out details that it’s hard to pick
favorites, but I must say their unity cross was a wonderful way to honor
                          their coming together.

    I can’t wait to see how the Lord uses them as a married couple!

           2.    Louisville’s law affects Nelson’s speech by
                 forcing her to speak against her conscience.

     The Accommodations Provision forces Nelson to change her

message. Nelson celebrates opposite-sex weddings consistent with her

religious beliefs. Nelson Decl. ¶¶75–99, R.92–2, PageID#2841–2844.

Louisville’s law requires her to celebrate same-sex weddings contrary to
those beliefs. Supra § I.A.2. This compulsion affects the content of

Nelson’s speech by forcing her to create and promote a message she

disagrees with, violating Nelson’s “autonomy” to choose the content of
her expression. Hurley, 515 U.S. at 573. Practically, this means

Louisville forbids Nelson from following her policy of only celebrating

weddings according to her faith. Supra § I.A.2.

     Louisville counters that its law does not force Nelson to photo-

graph “in any particular way,” apply “a certain style,” dictate “how

Nelson takes photographs,” or require her to promote same-sex

weddings “in a positive and uplifting way.” Metro.Br.23, 28. But the

public-accommodations law in Hurley did not facially orchestrate the




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parade’s route or the floats’ color, size, or shape. The law still compelled
speech because its application altered the parade’s message.

     Likewise here, Louisville conceded that Nelson must provide

exactly the same services for opposite-sex and same-sex weddings.
Supra § I.A.2. Nelson always portrays opposite-sex weddings “in a

positive and uplifting way.” Nelson Decl. ¶151, R.92–2, PageID#2848.

Louisville thus forces her to do the same to celebrate same-sex
weddings. Metro.Br.28 (Nelson’s services must be “equally available to

all customers”); Id. at 34 (same). But photographs and blogs celebrating

same-sex weddings express a different message from those celebrating

opposite-sex marriage. Compare Nelson’s photographs on the left with

other photographers’ images on the right. Compare Nelson’s

Photographs and Blogs, R.92–5-6, PageID#2937–3005, 3029–3180 with
Louisville Photographers’ Photographs and Blogs, R.92–7,

PageID#3448–3488, 3519–3556, 3569–3632.




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     The same goes for Nelson’s wedding blogs. Nelson’s posts exalting

a mother’s relief over the “wonderful young man” marrying her

daughter and congratulating the “husband and wife” or “bride and

groom” say one thing. Nelson’s Photographs and Blogs, R.92–5-6,

PageID#2973, 2949, 2998. Other photographers’ posts criticizing

“heteronormative attitudes” about marriage and congratulating “the

grooms” and “Mr. and Mr.” say something altogether different.


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Louisville Photographers’ Blogs and Photographs, R.92-7, PageID#3540,
3601, 3631.

        Louisville compels Nelson’s speech more egregiously than other

compelled speech cases. The Hurley parade organizers objected to a
single nine-word banner in a mass of 10,000 participants. 515 U.S. at

561, 570. And in Hurley, Miami Herald Publishing Company v.

Tornillo, 418 U.S. 241 (1974), Wooley v. Maynard, 430 U.S. 705 (1977),
and Pacific Gas & Electric Company v. Public Utilities Commission of

California (PG&E), 475 U.S. 1 (1986), the speakers had to include

someone else’s views—produced by someone else—in their expression.

Even so, the applications of those laws still violated the First

Amendment. Louisville’s law goes much further by requiring Nelson to

originate expression that violates her faith and then post photographs
and congratulatory blogs on her own website.

        B.    The Accommodations Provision violates the First
              Amendment by compelling Nelson to speak based on
              content and viewpoint.

        Worse, Louisville applies the Accommodations Provision to Nelson

in a content- and viewpoint-based manner. Order, R.130, PageID#5374–

5377.

        A law is content based if it “applies to particular speech because of

the topic discussed or … message expressed.” Reed v. Town of Gilbert,

576 U.S. 155, 163 (2015). A viewpoint-based law regulates speech



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because of the “particular views taken by speakers on a subject.”
Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829

(1995). Louisville’s law does both. The content of Nelson’s message sets

off the law, and its viewpoint determines its legality.
     Louisville counters that the law does not facially “draw[]

distinctions based on content.” Metro.Br.28. But the district court

rightly rejected this argument. Order, R.130, Page#5375. As applied,
the law regulates the content and viewpoint of Nelson’s expression in

three ways.

     First, the law compels Nelson to photograph and blog about same-

sex marriage. That “necessarily alters the content” of Nelson’s speech

and changes her desired message about marriage. Riley v. Nat’l Fed’n of

the Blind of N.C., Inc., 487 U.S. 781, 795 (1988).
     Second, the law treats Nelson’s “choice to talk about” opposite-sex

marriage “as a trigger for compelling” her to celebrate same-sex mar-

riage. TMG, 936 F.3d at 753; see Tornillo, 418 U.S. at 256. Louisville

contends Tornillo’s triggering point is inapplicable because Nelson’s

decision to offer services—not her speech—triggers the law.

Metro.Br.34. But the newspaper could have avoided the right-of-reply

statute by never publishing any op-eds. The paper’s decision to publish

triggered the statute. So too here. Louisville admits that Nelson’s

decision to celebrate opposite-sex weddings triggers her obligation to

celebrate same-sex weddings. Id. So Tornillo’s logic applies.


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     Third, the law awards access to Nelson’s photographs and blogs
“only to those who disagree[] with [her] views” on marriage. PG&E, 475

U.S. at 13. Nelson must accept all same-sex wedding requests because

Louisville considers any refusals to be “inextricable” from “sexual
orientation” discrimination. Metro.Br.31.

     In these ways, the law applies based on the content of Nelson’s

expression and her viewpoint.

     C.    Louisville’s approach unsettles established law
           protecting speaker autonomy.

     Contrary to Louisville’s suggestions, the law compels Nelson’s

speech—(1) not her conduct; (2) not speech incidental to conduct; (3) not

her client’s speech; and (4) not her client selection.

           1.    The Accommodations Provision compels Nelson’s
                 speech, not her conduct.

     Louisville says its law only compels sales, not speech. Metro.Br.23.

But Nelson does not object to who she sells to. Infra § II.C.4. She only

objects to what she photographs and blogs about. As applied to Nelson,

then, Louisville’s law compels access to the content of Nelson’s custom

photographs and blogs. Supra § I.A.2; Order, R.130, PageID#5376.

This case is about speech, not sales.

     Hurley proves the point. The public-accommodation law there did

not target speech “on its face” but applied in a “peculiar way” to the

parade organizers’ “speech itself” by forcing them to “alter” the parade’s



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“expressive content.” 515 U.S. at 572–73. Other courts adopt this logic
to prevent facially neutral anti-discrimination laws from applying to

interfere with speech. See Groswirt v. Columbus Dispatch, No. 00-3451,

2000 WL 1871696, at *2 (6th Cir. 2000); Johari v. Ohio State Lantern,
No. 95-3421, 1996 WL 33230, at *1 (6th Cir. 1996).6

     That logic necessitates the same result here. Louisville’s law

requires Nelson to create photographs and blogs celebrating same-sex
weddings. That application is unconstitutional.

     Put differently, although Louisville’s law typically and facially

targets conduct, its application “alter[s]” Nelson’s “expressive content,”

Hurley, 515 U.S. at 572–73, and is “trigger[ed]” by Nelson

“communicating a message,” Holder v. Humanitarian Law Project, 561

U.S. 1, 28 (2010). For that reason, cases about license plates and the
Pledge of Allegiance apply even though Louisville’s law generally

regulates the sale of non-expressive goods. Contra Metro.Br.33–34. The

law applies here to force Nelson to speak a message—like the

compulsions for the driver and the students.

     Louisville tries to distinguish Hurley by claiming “[a] same-sex

couple’s wedding is not Nelson’s parade.” Metro.Br.32. But Louisville’s



6E.g., Green v. Miss United States of Am., LLC, 52 F.4th 773 (9th Cir.
2022); Coral Ridge Ministries Media, Inc. v. Amazon.com, Inc., 6 F.4th
1247 (11th Cir. 2021); TMG, 936 F.3d at 752; B&N, 448 P.3d at 914;
City of Cleveland v. Nation of Islam, 922 F. Supp. 56 (N.D. Ohio 1995).

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law doesn’t regulate the couple’s wedding. It regulates Nelson’s photo-
graphs and blogs about the wedding. And that—just like Hurley’s

parade—is her speech.

     Trying again, Louisville argues Hurley involved a “private”
parade. Metro.Br.31–32. But a state court found that the parade was so

unselective it was a public accommodation as a matter of state law.

Hurley, 515 U.S. at 564.
     Nor did Nelson waive her First Amendment rights by choosing to

open her studio “to the public” for a commission. Metro.Br.34–35, 39.

The Hurley parade charged a participant fee. Irish-Am. Gay, Lesbian &

Bisexual Grp. of Bos. v. City of Bos., 636 N.E.2d 1293, 1298 n.13 (Mass.

1994). And selling “expressive materials” doesn’t diminish constitu-

tional protections. ETW Corp., 332 F.3d at 925.
     In the end, Hurley—and the many cases applying Hurley in this

context—control here. That precedent proves Louisville’s law regulates

Nelson’s speech as applied to her photographs and blogs.

           2.    The Accommodations Provision directly burdens
                 Nelson’s speech.

     Louisville invokes Rumsfeld v. Forum for Acad. & Institutional

Rts. (FAIR), 547 U.S. 47 (2006), to say any burden on Nelson’s speech is

“incidental.” Metro.Br.31. That’s incorrect.

     In FAIR, law schools had to host military recruiters in classrooms.

547 U.S. at 61–62. That involved conduct because the schools didn’t


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speak when they hosted. Id. at 64–65. As a result of the non-expressive
hosting requirement, the schools also had to send factual emails. Id. at

61–62. Those emails were “plainly incidental to the Solomon

Amendment’s regulation of conduct”—i.e., room access. Id. at 62.
     Here, the law regulates only speech—the content of Nelson’s

photographs and blogs. Order, R.130, PageID#5369–5371. There is no

conduct this speech is incidental to. That in turn treats “speech itself”
as the public accommodation. Hurley, 515 U.S. at 572–73.

     FAIR explains why this case is different. FAIR distinguished

compelling access to non-expressive property (like empty rooms) from

compelling access to speech (like parades and newspapers). 547 U.S. at

63. Under FAIR, equal-access rules are unconstitutional when they

“affect[]” speech or “interfere[] with a speaker’s desired message.” Id. at
63–64. Louisville’s law does that here. So FAIR supports Nelson.

     These principles distinguish Louisville’s other cases too. Some

involved conduct—like selling hamburgers or renting rooms.

Metro.Br.24. Others involved situations when the law didn’t affect the

defendant’s expression—like membership organizations, law firms, and

schools. Metro.Br.24–26. Louisville’s best case is Elane Photography,

LLC v. Willock. But that case ignored how the law altered

photographs—not just sales—and conflicts with Hurley, FAIR, and

many other cases. The district court rightly rejected that case. Order,

R.130, PageID#5367–5369.


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           3.    The Accommodations Provision compels Nelson’s
                 speech, not her clients’.

     Louisville next counters that Nelson’s photographs and blogs are

not her speech, but the speech of “the couple being married.”
Metro.Br.26. Wrong. Nelson retains “ultimate editorial judgment and

control” over her photographs and blogs. Contracts, R.92–6,

PageID#3018, 3026. And she makes independent decisions about how
best to portray the couple. Nelson Decl. ¶¶208–325, R.92–2,

PageID#2854–2872.

     This creative control makes it irrelevant that Nelson collaborates

with others. The First Amendment protects “[p]ublishers disseminating

the work of others.” ETW Corp., 332 F.3d at 925. The “Pulitzer … goes

to the photographer, not her subjects.” Order, R.130, PageID#5367. And

Nelson’s expression is hers—even if it depicts or describes others. The

First Amendment protects biographers and autobiographers alike.

     Nor does Nelson’s right to speak turn on whether the public would

think Nelson “endors[es]” any same-sex wedding Louisville forced her to

photograph. Metro.Br.26. For example, drivers, newspapers, and utility

companies cannot be forced to promote speech easily attributable to

others. PG&E, 475 U.S. at 907 (compelled speech when outside speaker

had to “state that its messages are not those of appellant”); Wooley, 430

U.S. at 715; Tornillo, 418 U.S. at 258.

     Although irrelevant, third-party perceptions support Nelson’s

argument. Louisville’s Executive Director testified that Nelson’s


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wedding photographs “communicate[] a message of celebration.”
Goatley Dep., R.92–7, PageID#3755. Nelson posts those photographs on

her blog, writes uplifting messages on her blog, and tags each post with

“Chelsey Nelson.” Nelson Decl. ¶¶188–90, R.92–2, PageID#2852. The
public would perceive Nelson’s same-sex wedding photographs and

blogs as celebrating those weddings.

             4.    The Accommodations Provision compels Nelson’s
                   speech, not her client selection.

     Louisville stresses that its law regulates who can buy products,

not what businesses sell. Metro.Br.23. In that vein, Louisville says

Nelson must create works promoting same-sex weddings because

“refusing to sell based on an attribute inextricable from a customer’s

protected characteristic is discriminatory.” Metro.Br.31. But that’s not
happening here. Nelson objects to creating messages, not selling

products.

     Nelson creates photographs and blogs that celebrate opposite-sex

marriage consistent with her faith. She would create and sell those

works to anyone, including LGBT photographers for boutique editing or

LGBT wedding planners or parents requesting photographs an

opposite-sex wedding. Nelson Decl. ¶¶396–409, R.92–2, PageID#2880–

2882. She merely declines to create photographs and blogs that

contradict her faith. Id. at ¶¶332–76, PageID#2872–2878. And she

would decline to create those works for anyone. That’s equal treatment.


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     Louisville agrees—for other topics. For example, Louisville allows
businesses to decline to create or sell goods they have never made in the

past. Goatley Dep., R.92–7, PageID#3751 (testifying t-shirt designer

could decline “God bless gay marriage” shirt unless it already “had that
template”).7 Nelson has never created same-sex wedding photography

or blogs in the past for anyone. But Louisville treats Nelson worse by

forcing her to change her speech in the future.
     Louisville refuses to acknowledge that status discrimination “is

not the same as disagreement with a message.” Order, R.130,

PageID#5376. The First Amendment protects the latter. That was

Hurley’s point. The parade could decline parade access to disfavored

messages when it did not exclude “homosexuals as such” from the

parade. 515 U.S. at 572, 574–75. Nelson is no different. She opposes
ideas, not people.




7A bulk-sale tire shop declined to sell a small number of tires to a
customer because the sale “did not coincide with [its] business model.”
Case File, R.119–3, PageID#4973–4979. And a physician referred a
same-sex couple to another office because he did not specialize in the
requested medical services. Id. at PageID#5058–5064. Louisville found
that neither violated the law.

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     D.    Nelson’s lines are workable; Louisville’s line
           suppresses speech.

     Nelson’s two-part test—drawn from Hurley—provides workable

boundaries for determining when public-accommodation laws compel
speech. Louisville’s test obliterates free speech.

     Under Hurley, there must first be speech. Louisville claims that

this requirement is “unworkable.” Metro.Br.37. But the line is clear
here. Supra § II.A.1. In most cases, speech will clearly “communicate

ideas” and resemble other protected mediums. Brown, 564 U.S. at 790.

In unclear cases, courts consider whether an activity “is intended to be

communicative” and whether it would be objectively “understood by the

viewer to be communicative.” Clark v. Cmty. for Creative Non-Violence,

468 U.S. 288, 294 (1984) (citations omitted). Either way, courts have

“long drawn” this speech/conduct “line.” NIFLA v. Becerra, 138 S. Ct.

2361, 2373 (2018).

     Another limit is that the speech must be custom created, not pre-

made. See Associated Press v. United States, 326 U.S. 1, 20 n.18 (1945)

(distinguishing refusal to sell completed product from refusal to create

and publish). Selling pre-made items doesn’t infringe the conscience like

creating custom expression that contradicts one’s beliefs.

     Next, if there’s custom speech, the law must affect the speaker’s

message. The speaker’s stated objections, the requested speech’s facial

content, its context, and whether the speaker otherwise serves the

protected class are relevant to that inquiry. Hurley, 515 U.S. at 570,


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572–74; Sistrunk, 99 F.3d at 199 (considering similar facts when
Republican rally excluded Democratic buttons). None of that is disputed

here, and it all favors Nelson’s freedom of expression.

     This framework does not undermine the general legitimacy of
public-accommodations laws. E.g., Order, R.130, PageID#5354–5355.

Those laws can stop status-based discriminatory conduct. But they

cannot compel the creation of custom speech.
     Meanwhile, Louisville’s theory brings a sledgehammer to fix

something more suited for an x-acto knife. Louisville claims the

authority to regulate the custom expression of any public

accommodation. Metro.Br.24. But Louisville broadly defines public

accommodations to include those that “advertise[] on the Internet.”

Defs.’ MPI Resp., R.15–1, PageID#772. And the law applies regardless
of corporate form. 30(b)(6) Dep., R.92–7, PageID#3666.8

     Louisville admits that under its theory, newspapers must run ads

with objectionable words, and speechwriters must lend their voices to

causes they oppose. 30(b)(6) Dep., R.92–7, PageID#3674; Tr., R.52,

PageID#1402–1404.9 Under the same logic, an LGBT-owned t-shirt

8 See also Case File, R.119–3, PageID#4961–4972 (applying law to
newspaper and private Catholic school).
9 Louisville doesn’t ban political ideology discrimination, ACLU.Br.9,

but nothing prevents it from adding that later as other cities in this
circuit have done, see Eugene Volokh, Bans on Political Discrimination
in Places of Public Accommodation and Housing, 15 NYU J.L. & Liberty
490, 493–94, 496 (2022) (collecting Michigan examples).

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company must create “Defend Marriage” shirts for pro- and anti-
Obergefell rallies. And cake artists who support same-sex marriage

must design cakes criticizing same-sex marriage. Cf. Mannarino v. Cut

the Cake Bakery, No. 16–3465, 2017 WL 601408 (Fl. Div. of Admin.
Hr’gs Feb. 9, 2017). That’s nonsensical.

     Nelson’s approach is better—safeguard free speech while allowing

the government to prosecute discriminatory conduct. That approach
gives full effect to the First Amendment by protecting both Nelson’s

expression and those who might disagree.

III. The Publication Provision violates the First Amendment
     by restricting Nelson’s speech about protected activities
     based on content and viewpoint.

     The Publication Provision restricts Nelson’s speech based on

content and viewpoint. Order, R.130, Page#5387–5390.

     Louisville never challenges the district court’s holding. Louisville
just retreads old ground, saying it can restrict Nelson’s speech as “an

illegal policy of discrimination.” Metro.Br.40. But Nelson has a consti-

tutional right to photograph and blog about only those messages consis-

tent with her faith. Supra § II. She therefore has the intertwined right

to publicly explain her choice. Order, R.130, PageID#5387–5388

(explaining this point); Order, R.47, PageID#1222–1223 (same).

     This logic does not undermine laws banning speech about illegal

and constitutionally unprotected activities in housing, employment, or



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public accommodations. Contra Metro.Br.40. Louisville’s law does the
opposite here: banning speech about legal and constitutionally protected

activities. Louisville can no more ban Nelson’s statements than it can

forbid parade organizers from posting a statement declining objection-
able floats. TMG, 936 F.3d at 757 n.5 (making similar point).

      Shifting gears, Louisville suggests that its law doesn’t restrict

Nelson’s speech because she can publish some of her religious beliefs.
Metro.Br.3, 29. But limited speech isn’t free speech. See Wis. Right To

Life, 551 U.S. at 477 n.9 (collecting cases). Nelson has a right to post

her “comprehensive” views on marriage how she wants. Nelson Decl.

¶¶445–54, R.92–2, PageID#2886–2887.

IV.   The Accommodations and Publication Provisions violate
      KRFRA because they substantially burden Nelson’s
      religious beliefs.

      Louisville’s law also infringes Nelson’s KRFRA rights. KRFRA
protects (1) the “right to act or refuse to act” on a “sincerely held

religious belief,” from (2) being “substantially burdened” by the

government, unless (3) the government can show the burden passes

strict scrutiny. K.R.S. § 446.350. Nelson meets the first two elements;

Louisville fails the third.

      Nelson is religiously and sincerely motivated to create photo-

graphs and blogs celebrating her view that marriage is the union of one

man and one woman, to bind her studio to that policy, and to publicly



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explain the reasons for this decision. Nelson Decl. ¶¶328–409, 441–54,
R.92–2, PageID#2872–2882, 2886–2887.

     Louisville’s law burdens these beliefs by “assessing penalties”

against Nelson. K.R.S. § 446.350. The law threatens her with fines and
other penalties if she creates photographs, writes blogs, or posts

statements consistent with her faith. Order, R.130, PageID#5393

(listing some of these penalties). These penalties force Nelson to create
photographs and blogs that violate her beliefs. And Louisville’s law has

already burdened Nelson by forcing her to refrain from religious speech

before the injunction to avoid prosecution. Nelson Decl. ¶¶439–454,

R.92–2, PageID#2885–2887. By any definition, these are substantial

burdens. Order, R.130, PageID#5393; B&N, 448 P.3d at 920.

     Louisville denies any burden on Nelson because she sued before
prosecution. Metro.Br.42. But this Court grants pre-enforcement RFRA

injunctions. Maryville Baptist Church, Inc. v. Beshear, 957 F.3d 610,

616 (6th Cir. 2020) (per curiam) (KRFRA); Doster, 54 F.4th at 416–26

(RFRA). The imminent choice facing Nelson—between violating the law

and following her faith—proves a substantial burden. Korte v. Sebelius,

735 F.3d 654, 683 (7th Cir. 2013) (making this point).

     Louisville also defends its law as targeting Nelson’s business

practices, not her “religious observance.” Metro.Br.42. That argument

misunderstands Nelson’s religious exercise. Nelson operates her studio

as an extension of her faith—i.e., as a form of religious observance.


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Nelson Decl. ¶¶75–99, R.92–2, PageID#2841–2844. KRFRA ensures she
can do so penalty-free. See Burwell v. Hobby Lobby Stores, Inc., 573 U.S.

682, 703 (2014) (protecting business’s decision to operate “in accordance

with the family’s religious beliefs”).
     Louisville faults the district court for not conducting a “separate

strict scrutiny analysis.” Metro.Br.43. But First Amendment and

KRFRA claims use the same strict-scrutiny test. See Maryville Baptist
Church, 957 F.3d at 613 (applying traditional strict scrutiny test to

KRFRA claim). In its strict-scrutiny analysis, the district court

considered and rejected Louisville’s claim of third-party harms. Order,

R.130, PageID#5377–5387; contra Metro.Br.43–44. Having done so for

the First Amendment, the court need not repeat itself.

V.   Louisville’s law fails strict scrutiny as applied to Nelson.

     Louisville’s law violates Nelson’s rights by compelling her to
express messages that violate her conscience. Louisville has no

historical evidence of public-accommodations laws ever being used this

way. That alone undermines any need to apply its law to regulate

Nelson’s speech. N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct.

2111, 2130 (2022) (articulating this historical test).

     But at a minimum, strict scrutiny applies. See PG&E, 475 U.S. at

19 (applying strict scrutiny to compelled speech); Reed, 576 U.S. at 163

(same for content- and viewpoint-based speech regulations); K.R.S.



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§ 446.350 (KRFRA). And Louisville cannot meet its burden to show how
applying its law here (A) serves a compelling interest, or (B) is narrowly

tailored to that interest.

      A.    Louisville lacks a compelling interest in applying its
            law to Nelson’s speech.

      Louisville has no compelling interest in applying its law here.

Louisville instead says “[a]ll agree that” Louisville’s interests are
compelling. Metro.Br.35. But “broadly formulated interests” don’t

suffice. Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1881 (2021).

Strict scrutiny “demands a more precise analysis.” Id.

      Louisville must have a compelling interest in regulating—and

denying an exemption for—Nelson’s speech. Id.; see Wis. Right To Life,

551 U.S. at 477–78 (“[A] compelling interest [must] support[] each
application of a statute restricting speech.”). Once the avowed interest

is properly narrowed, governments lack a compelling interest in

applying their anti-discrimination laws to compel speech. Hurley, 515

U.S. at 578; Boy Scouts of Am. v. Dale, 530 U.S. 640, 659–61 (2000);

supra § II.C.1 n.6 (collecting cases).

      Continuing generalities, Louisville asserts an interest in “rooting

out all forms of discrimination.” Defs.’ Interrogatory Resp., R.92–7,

PageID#3295. But that interest dead-ends here. Nelson does not

discriminate—she declines messages, not people. Supra § II.C.4.




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Louisville’s law just regulates Nelson’s speech. The law serves no
“legitimate end” by doing that. Hurley, 515 U.S. at 578.

     Next, Louisville argues that compelling access to Nelson’s photo-

graphs and blogs is necessary to ensure “equal access.” Metro.Br.35.
But Louisville never established access to same-sex wedding photo-

graphy was “an actual problem in need of solving.” Brown, 564 U.S. at

799 (cleaned up). Far from it. Many photographers in Louisville and
members of the Fair Event Vendors Alliance photograph and post blogs

promoting same-sex weddings. Louisville Photographer Deps. and Exs.,

R.92–7, PageID#3436–3613. Louisville knows of no example in which

someone lacked access to same-sex wedding photography before passing

its law or before (or after) Nelson’s injunction. Defs.’ Admissions, R.92–

7, PageID#3290; Deps., R.92–7, PageID#3680, 3752, 3754.
     Louisville also cites the need to prevent dignitary harms.

Metro.Br.36–37. But Nelson has countervailing dignity interests. Cohen

v. California, 403 U.S. 15, 24 (1971) (free speech partly “premise[d]” on

“individual dignity” of speaker). And dignity harms have never justified

speech regulations. Order, R.130, PageID#5375.

     The law is underinclusive as to that interest anyway. Louisville

allows sex-discrimination in most contexts, and people may “shout from

[the] rooftop” that same-sex marriage “is immoral [and] abhorrent.”

Metro Ord. § 92.05(C); Metro.Br.30. Other exemptions further

undermine Louisville’s claimed interests. Brown, 564 U.S. at 802


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(underinclusivity “is alone enough” to defeat law). Louisville’s
exemptions in housing, employment, and public accommodations render

the law fatally underinclusive. Order, R.130, PageID#5382.

     Louisville argues that these exemptions in other laws are
irrelevant. Metro.Br.36. But that overlooks how the public-

accommodations law has a massive exemption for sex discrimination.

Metro Ord. § 92.05(C). Louisville only prohibits hotels, restaurants, and
government-funded business from engaging in sex discrimination. Id.

All other public accommodations can do so without penalty. See id.

§ 92.05(A).10

     And what matters is an exemption’s effect, not location. Brown,

564 U.S. at 802 (law regulating violent video games was underinclusive

when no laws regulated similarly violent cartoons, games, and books);
Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520,

545 (1993) (city ordinance regulating meat disposal underinclusive

when state law contained exemptions). The effects of Louisville’s many

exemptions undermine its interests in “rooting out all” discrimination.

So the law is underinclusive and therefore fails strict scrutiny.




10See Case Files, R.119–3, PageID#4980–4983 (dismissing sex
discrimination claim for lack of jurisdiction); id. at PageID#5065–5072
(same for disability discrimination claim); id. at PageID#5038–5045,
5051–5057 (dismissing gender-identity claims despite assertions that
complainants felt humiliated).

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     B.    Louisville has many, less intrusive alternatives to
           achieve any valid goal.

     Louisville’s law also fails strict scrutiny because it lacks narrow

tailoring. Regulating Nelson’s speech is not “the least restrictive means
among available, effective alternatives.” Ashcroft v. ACLU, 542 U.S.

656, 666 (2004).

     Louisville must “prove that [proposed] alternative[s] will be
ineffective to achieve its goals.” United States v. Playboy Ent. Grp., Inc.,

529 U.S. 803, 816 (2000). To do that, Louisville needed to present

evidence that it “seriously undertook to address the problem with less

intrusive tools readily available to it,” McCullen v. Coakley, 573 U.S.

464, 494 (2014), before passing the ordinance, Playboy Ent. Grp., Inc.,

529 U.S. at 822 (speech-restricting law failed narrowly tailoring with

“near barren legislative record”). Louisville admitted it failed to do so:

the city has no “information regarding what alternative measures th[e]

legislators may have considered.” Defs.’ Interrogatories, R.104–4,

PageID#4647–4648. That’s decisive.

     Equally decisive is that Louisville never considered less restrictive

practices of other jurisdictions. Ramirez v. Collier, 142 S. Ct. 1264,

1279–80 (2022) (requiring this); McCullen, 573 U.S. at 491–94 (same).

Those jurisdictions show that many better alternatives exist. Order,

R.130, PageID#5380–5381.

     For example, at least 20 states apply their public-accommodations

laws to stop actual status discrimination, not message-based objections.


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Utah Code Ann. § 34A-5-111; Br. of Ariz. et al. as Amici Curiae in Supp.
of Pet’rs, 303 Creative LLC v. Elenis, No. 21-476, 2022 WL 2066544

(U.S. June 2, 2022). They do so without a problem.

     Louisville claims that exempting message-based objections would
be “unworkable” and “difficult.” Metro.Br.37. But this it-might-be-hard

argument “is not enough to satisfy the First Amendment.” McCullen,

573 U.S. at 495. The lines are workable anyway. Supra § II.D.
     In fact, Louisville already draws First Amendment lines in

housing discrimination claims and with laws regulating sexually

oriented businesses, child curfews, and drop-off bins. FHAP Contract,

R.104–4, PageID#4645 (housing); Metro Ord. §§ 111.01(K)(1) (busi-

nesses); 137.03(C) (curfews); 156.052(L)(7) (bins). There’s no reason

Louisville cannot apply a similar exemption to Nelson. Professor Barak-
Corren’s testimony doesn’t prove otherwise. Infra § VI.

     Next, Louisville could exempt individuals and small business that

celebrate weddings. See Miss. Code § 11-62-5(5)(a). Louisville argues

this could raise other constitutional issues. But the district court

properly rejected that argument. Order, R.130, PageID#5381.

     Finally, Louisville could define public accommodations limited to

essential, non-expressive, or brick-and-mortar businesses. See 42 U.S.C.

§ 2000a(b) (narrowly defining public accommodations); Fla. Stat.

§ 760.02(11) (same). Louisville does this for sex-based classifications




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without issues. Metro Ord. § 92.05(C). Louisville has many options to
achieve its goal without compelling or restricting Nelson’s speech.

VI.   Professor Barak-Corren’s testimony was properly
      excluded.

      The district court did not abuse its discretion by excluding

Professor Barak-Corren’s testimony. Expert evidence must have “a

reliable foundation” and be “relevant to the task at hand.” Daubert v.
Merrell Dow Pharms., Inc., 509 U.S. 579, 597 (1993). Her testimony

fails both requirements.

      Barak-Corren tried to evaluate the effects of religious exemptions

on artists’ willingness to provide services for same-sex weddings.

Report, R.91–1, PageID#2614, 2637. She centered her study on the

Supreme Court’s Masterpiece decision because she anticipated extensive
media coverage. Id. Before the decision, Barak-Corren emailed wedding

professionals from fictitious same-sex couples (Wave 1) and then from

fictitious opposite-sex couples (Wave 2). Id. at PageID#2652, 2680,

2694–2695; Appendix, R.90–5, PageID#2379–2388. After the decision,

Barak-Corren sent two more waves of email inquiries to the same

professionals (Waves 3 and 4). Report, R.91–1, PageID#2647. She then

compared response rates to same-sex inquiries before and after

Masterpiece, claimed to have found an increase in non-responses or

explicit declines to same-sex inquiries after Masterpiece, and concluded

that Masterpiece caused this decline. Metro.Br.39.


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     Problems abound. Barak-Corren’s testimony is (A) not reliable
because she makes a causal argument without causal evidence and

many other errors invalidate her conclusions. Barak-Corren’s testimony

is also (B) not legally relevant because she has no information about
how her findings—even if true—would apply to Nelson in Louisville, as

required for strict scrutiny.

     A.     Barak-Corren’s testimony is unreliable because her
            study contains structural mistakes.

     Contrary to Louisville’s suggestion, the district court didn’t

quibble with Barak-Corren’s methodology. Contra Metro.Br.45. The

court found that her many methodological missteps rendered her

testimony unreliable. Order, R.130, PageID#5384–5385. That’s the

district court’s role. Fed. R. Evid. 702 advisory committee’s note, 2000
amend (“[A]ny step that renders the analysis unreliable ... renders the

expert’s testimony inadmissible.”). The court was right for three

reasons.

     First, Barak-Corren never investigated whether the professionals

she surveyed knew about the Masterpiece decision. Barak-Corren Dep.,

R.90–7, PageID#2459–2460. She instead relied on (i) what the media

said about Masterpiece, and (ii) what people understood the opinion to

say based on those media reports. Report, R.90–3, PageID#2292–2295,

2315–2317 & n.151 (relying on media for “expressive theory of law”);

Barak-Corren Dep., R.90–7, PageID#2474. But as Louisville admits, “it


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was not possible to examine what media sources the vendors consumed
before or after the Masterpiece decision.” Metro.Br.49.

     In other words, Barak-Corren argues that Masterpiece caused a

result. Metro.Br.39 (summarizing Barak-Corren’s conclusion). But
Barak-Corren has no evidence that professionals even knew about—

much less were influenced—by Masterpiece. That’s like saying a flat tire

caused an accident without knowing—or having any evidence support-
ing—whether the tire was flat. Without knowledge about the cause,

Barak-Corren’s flat-tire-like claim is unreliable.

     The Supreme Court likewise rejected an expert’s testimony about

“exposure to violent video games and harmful effects on children.”

Brown, 564 U.S. at 800. The testimony at best showed correlation,

which didn’t establish causation. Id. Without causation, the state had
no interest banning the video games. Id. Barak-Corren’s testimony fails

for the same reason.

     Louisville tries to repair Barak-Corren’s testimony, saying other

studies show that Supreme Court decisions shape public opinion.

Metro.Br.50. But those studies recorded subjects’ awareness of those

particular decisions. Pls.’ Mot. to Exclude and Reply, R.90, R.106,

PageID#2231–2232, 4664–4465. Even Tankard and Paluck

(Metro.Br.50) asked subjects about their media consumption, and most

participants reported daily consumption. Tankard & Paluck, R.90–9,




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PageID#2494. Barak-Corren doesn’t even know how often professionals
saw any news.

     Louisville next argues that Masterpiece’s nuances—meaning that

the Court did not grant a religious exemption—are irrelevant because
the case was “broadly reported and understood as a victory.”

Metro.Br.50. But mainstream, progressive, and conservative media

reported on the case differently. Report, R.91–1, PageID#2637–2640.
Mainstream and progressive outlets described the case critically or

narrowly—i.e., not granting an exemption. Id. Barak-Corren never

measured who saw what, which media type was more widely consumed,

or whether the artists who declined viewed mainstream, progressive,

conservative, or no media at all. That makes it impossible to know

whether Masterpiece was generally “understood” as a narrow or wrong
case or a religious-exemption case. Louisville’s contrary argument—that

“narrow” reporting supports Barak-Corren, Metro.Br.50—just assumes

the unfounded premise of a Masterpiece reaction.

     Second, the study contains a structural flaw. Before Masterpiece,

many more professionals responded to same-sex inquiries in Wave 1

(70.8% response rate) compared to opposite-sex inquiries in Wave 2

(58.7% response rate). Report, R.90–3, PageID#2304. Barak-Corren

admits this feature prevented her from knowing “the extent of

discrimination towards same-sex couples … before Masterpiece.” Barak-

Corren Dep., R.90–7, PageID#2464–2465. That tanks the study. The


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study purports to do a before-and-after comparison. But that
comparison is impossible without a “before” baseline.

     Barak-Corren tried some workarounds, but none suffice. Pls.’

Reply Mot. to Exclude, R.106, PageID#4667–4671. One issue is that
Barak-Corren never accounts for regression to the mean—the

phenomenon where extreme results retreat to their average when re-

tested. Id. Since Wave 1 had such a high response rate, it’s likely that
regression to the mean explains any reduced responsiveness. Creighton

Meland & Stephen Cranney, Measuring and Evaluating Public

Responses to Religious Rights Rulings, 23 Fed. Soc’y Rev. 333, 342–44

(2022). That’s statistics; not discrimination.

     Finally, Barak-Corren’s testimony suffers from several other

defects that make her conclusions unreliable. Yancey Report ¶¶10–33,
R.90–6, PageID#2416–2429; Order, R.130, PageID#5385 n.13. The

study contained enough errors to occupy an entire law review article.

Meland & Cranney, 23 Fed. Soc’y Rev. at 333–54.

     Taking these errors together or viewing them independently, the

district court properly excluded Barak-Corren’s testimony as unreliable.

     B.    Barak-Corren’s testimony is legally irrelevant because
           she has no information about Nelson or Louisville.

     The district court also correctly found Barak-Corren’s testimony

legally irrelevant to the strict-scrutiny analysis.




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     The court found Barak-Corren had no “special insight into”
narrow tailoring. Order, R.130, PageID#5386 (cleaned up). If anything,

the court noted, Barak-Corren’s report actually “highlight[ed] the

Ordinance’s underinclusivity.” Id. While Barak-Corren touted the
widespread harms of one exemption, Louisville’s law already permits

many. Id. Louisville never engages this logic.

     Barak-Corren’s strict-scrutiny analysis is also irrelevant for
another reason: she fails to specifically analyze Nelson’s requested

exemptions in Louisville as strict scrutiny demands. Supra § V.A.

     For example, Barak-Corren designed her study around religious

exemptions. But she never mentions how her analysis would change for

a message-based exemption—like the one involved in this case. In fact,

she testified that a message-based objection to celebrating same-sex
weddings would be a nondiscriminatory response: a cake artist

“intending to provide shelf products but having a First Amendment

objection to providing a custom product” would be coded as a “positive

baker.” Barak-Corren Dep., R.90–7, PageID#2475.

     Barak-Corren also never audited artists in Louisville, never

explained how lower-courts’ decisions affect social norms as compared to

Supreme Court decisions, and never reliably compared Louisville to the

studied states. Mot. to Exclude, R.90, PageID#2243, 2249–2250. Nor did

she compare Nelson’s media attention to Masterpiece’s, rendering any

inferences about public reaction to Nelson’s case entirely speculative.


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The actual evidence is that Louisville is unaware of any increase in
sexual-orientation complaints since Nelson’s injunctions. See Deps.,

R.92–7, PageID#3680, 3752, 3754. Louisville cannot rebut the

admissions of its own officials.
     Barak-Corren did not even establish widespread objections to

celebrating same-sex weddings. Barak-Corren contacted approximately

2,000 creative professionals inquiring about same-sex wedding services
and only one declined because the professional “only does traditional

weddings.” Appendix, R.90–5, PageID#2391, 2397 (recording 177 phone

calls and 906 emails times two waves); Barak-Corren Dep., R.90–7,

PageID#2476. That equals an explicit decline rate of .00051% (1/1,977).

That cannot be enough to override Nelson’s rights.

     The district court also pointed out the backward consequences of
Barak-Corren’s argument. Under her logic, Masterpiece should have

tolerated Colorado’s hostility towards Jack Phillips—comparing his to

beliefs to Holocaust defenders and treating him worse than other

secular artists, 138 S. Ct. at 1729–31—to avoid the speculative

possibility that the media would misreport the case, the public would

misunderstand the ruling, and artists would mistakenly discriminate

more based on their incorrect understanding of a court opinion. Order,

R.130, PageID#5386. What’s more, lower court judges would be forced

to tailor their constitutional decisions to account for speculative public

perceptions. Id. Louisville never disputes these consequences.


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     The First Amendment stands as a bulwark against public reac-
tions or perceptions. Barak-Corren cannot cabin constitutional protec-

tions to popular opinions. Her testimony was properly excluded.

VII. The supplemental documents are admissible, undisputed,
     and further bolster Nelson’s standing and claims.

     This Court should consider Nelson’s supplemental records. The

district court denied Nelson’s motion to supplement as “moot” because it
ruled in her favor without relying on these records. Text Order, R.131.

The court never concluded the records were inadmissible; it just didn’t

rely on them. This Court reviews mootness-based evidentiary decisions

de novo. Cf. Cleveland Mun. Sch. Dist., 455 F.3d at 698 (applying “de

novo” review to district court’s decision to decline to admit certain

reports after finding the reports became moot because of prior ruling).
     Several other considerations support de novo review. For example,

appellate courts “conduct an independent examination of the record as a

whole” for First Amendment claims like Nelson’s. Hurley, 515 U.S. at

567. Next, appellate courts may review summary-judgment evidence

disregarded—but not excluded—by lower courts. Fed. R. Civ. P. 56(c)(3)

(courts “may consider other [uncited] materials in the record”). The

supplemental documents are also judicially noticeable, and judicial

notice may be taken “at any stage of the proceeding.” Fed. R. Evid.

201(d). Lastly, this Court has discretionary authority to supplement the

appellate record and can do so here because the supplemental


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documents meet the relevant factors. United States v. Murdock, 398
F.3d 491, 500 (6th Cir. 2005).

      Applying de novo review, this Court should consider Nelson’s

supplemental documents. Louisville never disputes their accuracy or
authenticity. And these documents contain new evidence that reinforce

Nelson’s arguments. They are relevant to her standing (nn.2–5), her

compelled speech claim (n.7), the consequences of Louisville’s logic (n.8),
strict scrutiny (n.10), and her facial challenge (§ VIII).

VIII. The Unwelcome Clause facially violates the First and
      Fourteenth Amendments.

      The Unwelcome Clause bans speech that indicates someone’s

“patronage of, or presence at” a public accommodation “is objectionable,

unwelcome, unacceptable, or undesirable.” Metro Ord. § 92.05(B). This
language is overbroad, vague, and grants unbridled discretion to

Louisville officials.

      The district court largely agreed, calling the clause “troubling”

and “incompatibl[e] with the First Amendment.” Order, R.130,

PageID#5388. But the court declined to facially enjoin it. The court

believed it granted Nelson’s requested relief by enjoining the Unwel-

come Clause as applied to her, and the court questioned facially

enjoining an ordinance on a pre-enforcement record. Id. The court’s

reservations were misguided.




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     Courts often enjoin laws that facially violate the First Amendment
to reduce the risk of the society-wide chilling effect affecting others.

E.g., Gooding v. Wilson, 405 U.S. 518, 520 (1972). And courts invalidate

laws in “pre-enforcement facial constitutional challenges” because they
“present purely legal issues.” Hill v. Snyder, 878 F.3d 193, 213–14 (6th

Cir. 2017) (cleaned up and collecting cases). Following these cases, this

Court should address the merits of Nelson’s facial challenge. The merits
prove the Unwelcome Clause is facially unconstitutional.

     A.    The Unwelcome Clause is overbroad.

     Courts walk a two-step path to resolve overbreadth claims. First,

they “construe the challenged statute.” United States v. Williams, 553

U.S. 285, 293 (2008). Then, they determine whether that construction

regulates “a substantial amount of protected expressive activity.” Id. at

297. If it does, the law is overbroad.
     For step one, the Publication Provision has two clauses: the Denial

Clause and the Unwelcome Clause. The Denial Clause prohibits written

statements indicating that services “will be refused, withheld, or

denied” to individuals because of protected traits. Metro Ord.

§ 92.05(B). These terms prohibit public accommodations from making

statements that a service will be “actually refused, withheld or denied

because of that person’s protected class.” Boyd Dep., R.92–7,

PageID#3715.



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     The Unwelcome Clause prohibits public accommodations from
publishing statements indicating that a prospective customer is

“objectionable, unwelcome, unacceptable, or undesirable” because of a

protected characteristic. Metro Ord. § 92.05(B). Louisville neither
defines “objectionable, unwelcome, unacceptable, or undesirable” nor

offers enforcement guidance. Boyd Dep., R.92–7, PageID#3716–3717.

But under the canon against surplusage—a rule which gives effect to
each word in a statute and presumes that different words have different

meanings —the Unwelcome Clause must mean something different

from the Denial Clause. Antonin Scalia & Bryan Garner, Reading Law:

The Interpretation of Legal Texts 174 (2012) (describing canon).11

     But what could the Unwelcome Clause proscribe that’s different

from the denials banned by the Denial Clause?
     Louisville provided an answer when it prosecuted Scooter’s Triple

B’s for posting the following sign. Case File, R.129–1, PageID#5268–

5301; Dep. Ex., R.92–7, PageID#3690.




11This Court and Kentucky use this rule. E.g., Donovan v. FirstCredit,
Inc., 983 F.3d 246, 257 (6th Cir. 2020); City of Lebanon v. Goodin, 436
S.W.3d 505, 513 (Ky. 2014).

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     Louisville argued that it could ban the sign under the Unwelcome
Clause to “protect its citizens from unwanted exposure to certain

methods of expression” and to silence “communications which may

cause negative secondary effects the city wishes to prevent.” Case File,

R.129–1, PageID#5274, 5277, 5279. Accord Boyd Dep., R.92–7,

PageID#3725. With that reading, the Unwelcome Clause covers almost

any critical utterance related to any protected trait.

     Under overbreadth’s second step, the Unwelcome Clause’s plain

terms render the clause hopelessly oppressive. Many courts have

invalidated laws with similar language. See Gooding, 405 U.S. at 519,


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528 (invalidating overbroad law prohibiting “opprobrious words or
abusive language”); Saxe v. State Coll. Area Sch. Dist., 240 F.3d 200,

215 (3d Cir. 2001) (Alito, J.) (same as to harassment policy involving

“any unwelcome verbal” conduct). Cf. Miami Valley Fair Hous. Ctr., Inc.
v. Connor Grp., 725 F.3d 571, 577–78 (6th Cir. 2013) (ban on

advertisements that “discourage” certain protected classes would be

overbroad). It is easy to see why.
     As the district court observed, the Unwelcome Clause gives

Louisville “unrestrained authority to police speech based on subjective

listener reactions.” Order, R.130, PageID#5389–5390. A business’s pro-

Israel or pro-Palestine sign? An All Lives Matter window decal? A

physician’s op-ed criticizing cross-sex hormones? All forbidden by the

Unwelcome Clause to avoid imagined secondary effects based on
national origin, race, or gender identity status. See 303 Creative LLC, 6

F.4th at 1213–14 (Tymkovich, C.J., dissenting) (collecting examples).

     Louisville’s “secondary effects” gloss makes matters worse.

Scooter’s Triple B’s argued that its sign contained constitutionally-

protect speech because it expressed the owners’ “opinion” on “the issue

of access to restrooms by transgender individuals”—a “contentious”

issue involving “a matter of public concern.” Case File, R.129–1,

PageID#5292–93.

     Louisville agreed the sign was “political speech” on “a highly

controversial political” topic. Id. at PageID#5276–5277. But Louisville


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then turned the First Amendment upside down. Rather than crediting
these factors as reasons to protect the speech, Louisville counted them

as reasons to restrict the speech. To Louisville, the contentiousness of

the debate transformed the restaurant’s speech into “fighting words”
and made it more likely that negative “secondary effects” might occur.

Id. at PageID#5276–5277.

     That bans too much for no reason. After all, speech on “controver-
sial subjects” normally “occupies the highest rung” of First Amendment

protection. Janus, 138 S. Ct. at 2476. By banning speech on these

topics, the Unwelcome Clause is irredeemably overbroad.

     B.    The Unwelcome Clause is vague and grants
           Louisville’s officials unbridled enforcement discretion

     The void-for-vagueness doctrine guards against vague and
standardless laws. A law is vague if it “fails to provide a person of

ordinary intelligence fair notice of what is prohibited.” F.C.C. v. Fox

Television Stations, Inc., 567 U.S. 239, 253 (2012) (cleaned up). A law is

standardless—i.e., grants unbridled discretion—if its lack of guidance

“authorizes or encourages seriously discriminatory enforcement.” Id.

     The Unwelcome Clause is vague for the same reasons it is

overbroad. Supra § VIII.A; see Kolender v. Lawson, 461 U.S. 352, 358

n.8 (1983) (noting “vagueness and overbreadth [are] logically related

and similar doctrines”). Other judges have reached the same conclusion

about nearly identical laws. See Brush & Nib Studio, LC v. City of


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Phoenix, 418 P.3d 426, 442–43 (Ariz. Ct. App. 2018) (striking nearly
identical words); 303 Creative LLC, 6 F.4th at 1213–14 (Tymkovich,

C.J., dissenting) (explaining how same words were vague and

overbroad).
      The Unwelcome Clause is so unclear that Louisville officials don’t

even agree on it. The former Executive Director referred the sign for

prosecution for potentially violating the clause while the current
Executive Director said she “probably wouldn’t have paid [the sign] no

attention.” Compare Boyd Dep., R.92–7, PageID#3720–3721, 3724–

3725, 3731 with Goatley Dep., R.92–7, PageID#3749, 3766.

      That disagreement reinforces the Unwelcome Clause’s vagueness

and lack of enforcement standards. For these reasons, it should be

facially enjoined.

IX.   Nelson’s nominal and compensatory damages should be
      reinstated because she plausibly alleged harm.

      Nelson also deserves nominal and compensatory damages because

Louisville’s ordinance caused her to self-censor to avoid prosecution.

The district court dismissed this relief. In its view, Nelson failed to

establish a causal connection between the ordinance and “the chilling

effect and the lost business” and didn’t show how nominal damages

“might redress past chill.” Order, R.47, PageID#1211–1212.

      But Nelson alleged that she refrained from posting statements

expressing how her religious beliefs influenced her artistic policies,


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limited her advertisements, refused to respond to photography editing
requests posted in an online forum, and lost business opportunities.

Compl. ¶¶234–59, R.1, PageID#30–33. She did all of that because of

Louisville’s law. Id. These allegations must be accepted as true and
construed in Nelson’s favor because the court dismissed these claims at

the motion-to-dismiss stage. E.g., McGlone, 681 F.3d at 731.

      Meanwhile, Nelson’s decision to refrain from those activities was
objectively reasonable given the threats she faced. Supra § I (detailing

her threats); Order, R.47, PageID#1209–1211.

      Nelson’s self-censorship lasted until the court granted her

preliminary injunction. That chill caused injuries—lost constitutional

freedoms and business opportunities. Nominal and compensatory

damages redress those injuries. E.g., Uzuegbunam v. Preczewski, 141 S.
Ct. 792, 802 (2021) (holding “nominal damages” redress “a completed

violation of a legal right”); Barilla v. City of Houston, 13 F.4th 427, 430

(5th Cir. 2021) (reinstating pre-enforcement nominal damages); Six

Star Holdings, LLC v. City of Milwaukee, 821 F.3d 795, 801 (7th Cir.

2016) (awarding pre-enforcement nominal damages); Benson v. City of

Wellston, 201 F. App’x 350, 352–54 (6th Cir. 2006) (compensating

company for lost profits caused by city’s retaliation for company’s

political speech).

      In holding otherwise, the district court invoked Morrison v. Board

of Education of Boyd County, 521 F.3d 602 (6th Cir. 2008). But there,


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the plaintiff self-chilled with no realistic danger of violating the
challenged policy. The policy did not apply to the kind of speech the

student hoped to proclaim; nor did the student offer any evidence to

show the school would punish him for his proposed speech. Id. at 610.
In that scenario, there was not an “actual injury” for nominal damages

to redress. Id. at 610–11.

     By contrast, Nelson encountered a credible threat each day she
operates her studio before the injunctions. Supra § I. That threat

caused her to chill her speech. And even a dollar redresses that harm.

Uzuegbunam, 141 S. Ct. at 802.

     Morrison’s nominal-damages analysis—which the district court

relied on—is also no longer good law. Morrison said that nominal

damages only bring about relief as “to future dealings between the
parties.” 521 F.3d at 611 (cleaned up). After the school changed the

policy, Morrison reasoned, nominal damages couldn’t alter the parties’

future rights. Id.

     But the Supreme Court recently rejected the argument that

nominal damages only redress “continuing or threatened injury.”

Uzuegbunam, 141 S. Ct. at 798. After reviewing the historical record,

the Court held that nominal damages redress completed, past

constitutional violations. Id. at 798, 801–02. Likewise here, nominal

damages redress Nelson’s self-censorship caused by Louisville’s law.




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     Louisville’s law violated Nelson’s constitutional rights and caused
her injuries. So this Court should reinstate Nelson’s damages and

remand to the district court to enter nominal damages in Nelson’s favor

and calculate compensatory damages.

                            CONCLUSION

     Nelson only wants the freedom to choose what she says, not who

she serves. The First Amendment and KRFRA protect that choice.

Louisville has no legitimate reason to deny Nelson that freedom.

Louisville never challenges the scope of the injunction or declaratory

relief—only its merits. But Nelson wins on the merits and Louisville

thus waived any scope-related objections. This Court should affirm the

injunction and declaratory relief, consider the supplemental materials,

facially enjoin the Unwelcome Clause, and reinstate Nelson’s damages.




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Dated: February 22, 2023

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                              FRAP 32(g)

                 CERTIFICATE OF COMPLIANCE

     This brief complies with the word limit of Fed. R. App. P.

32(a)(7)(B) because this brief contains 15,299 words, excluding parts of

the brief exempted by Fed. R. App. P. 32(f) and 6 Cir. R.32(b).

     This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this brief has been prepared in Word 365 using a proportionally
spaced typeface, 14-point Century Schoolbook.

Dated: February 22, 2023

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                    CERTIFICATE OF SERVICE

     I hereby certify that on February 22, 2023, I electronically filed

the foregoing brief with the Clerk of the Court for the United States

Court of Appeals for the Sixth Circuit by using the appellate CM/ECF

system. I certify that all participants in the case are registered CM/ECF
users and that service will be accomplished by the CM/ECF system.


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                     DESIGNATION OF RELEVANT
                    DISTRICT COURT DOCUMENTS

     Pursuant to Sixth Circuit Rules 28(b)(1)(A)(i) and 30(g), Plaintiffs-

Appellees/Cross-Appellants designate the following district court

documents as relevant:


 Record Entry                  Description                  Page ID # Range

        1            Plaintiffs’ Complaint                          1–53

      1–2            Exhibit 1 to Complaint—Chilled                57–58
                     Wedding Celebration Services
                     Statement

      1–3            Exhibit 2 to Complaint–Chilled                59–60
                     Boutique Editing Services
                     Statement

      3–4            Appendix to Preliminary                      170–182
                     Injunction Motion, Website
                     Before Injunction

      14–1           Defendants’ Memorandum in                    731–749
                     Support of Motion to Dismiss
                     Plaintiffs’ Claims

      15–1           Defendants’ Response in                      765–793
                     Opposition to Plaintiffs’ Motion
                     for Preliminary Injunction

       33            Plaintiffs’ Response to                     986–1021
                     Defendants’ Motion to Dismiss

       38            United States’ Statement of                 1120–1142
                     Interest in Support of Plaintiffs’
                     Motion for a Preliminary
                     Injunction



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39         Defendants’ Reply to Plaintiffs’            1143–1153
           Response to Motion to Dismiss
           Plaintiffs’ Claims

39–1       Supplemental Affidavit of                   1154–1156
           Kendall Boyd

47         Memorandum Opinion and                      1202–1228
           Order

52         Transcript of Preliminary                   1337–1427
           Injunction Hearing, August 7,
           2020

64         Defendants’ Motion for                      1608–1623
           Protective Order

64–3       Exhibit 3 to Defendants’ Motion             1649–1654
           for Protective Order, Affidavit
           of Verná Goatley

89         Memorandum Opinion and                      2186–2219
           Order

90         Plaintiffs’ Motion to Exclude               2220–2252
           Testimony of Netta Barak-
           Corren

90–2       Exhibit A to Motion to Exclude,             2258–2267
           Professor Netta Barak-Corren’s
           Report

90–3       Exhibit B to Motion to Exclude,             2269–2331
           Professor Netta Barak-Corren’s
           Paper #1

90–4       Exhibit C to Motion to Exclude,             2332–2377
           Professor Netta Barak-Corren’s
           Paper #2




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90–5       Exhibit D to Motion to Exclude,              2378–2410
           Professor Netta Barak-Corren’s
           Online Appendix

90–6       Exhibit E to Motion to Exclude,              2411–2440
           Rebuttal Expert Report of
           George Yancey, Ph.D.

90–7       Exhibit F to Motion to Exclude,              2451–2477
           Professor Netta Barak-Corren’s
           Deposition Excerpts

90–8       Exhibit G to Motion to Exclude,              2478–2489
           The Supreme Court, the Media,
           and Public Opinion: Comparing
           Experimental and
           Observational Methods
           Excerpts

90–9       Exhibit H to Motion to Exclude,              2490–2494
           The Effect of a Supreme Court
           Decision Regarding Gay
           Marriage on Social Norms and
           Personal Attitudes Excerpts

90–10      Exhibit I to Motion to Exclude,              2495–2500
           Backlash or a Positive
           Response? Public Opinion of
           LGB Issues after Obergefell v.
           Hodges Excerpts

90–11      Exhibit J to Motion to Exclude,              2501–2504
           Same-Sex Marriage
           Legalization Associated with
           Reduced Implicit and Explicit
           Antigay Bias Excerpts

90–17      Exhibit P to Motion to Exclude,              2560–2568
           The Regression Fallacy




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